      Case 1:16-bk-12255-GM                    Doc 839 Filed 07/12/21 Entered 07/12/21 16:39:47                                      Desc
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 Attorney or Party Name, Address, Telephone & FAX                          FOR COURT USE ONLY
 Nos, State Bar No. & Email Address

 John W. Lucas (CA Bar No. 271038)
 PACHULSKI STANG ZIEHL & JONES LLP
 10100 Santa Monica Blvd. 13th Floor
 Los Angeles, CA 90067
 Tel: 310/277-6910
 Facsimile: 310/201-0760
 Email: JLucas@pszjlaw.com

  Movant(s) appearing without an attorney
  Attorney for Movant(s)
                                UNITED STATES BANKRUPTCY COURT
                   CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
 In re:                                          Case No.: 1:16-bk-12255-GM [Jointly Administered]
                                                                           CHAPTER 7
 SOLYMAN YASHOUAFAR and MASSOUD AARON
 YASHOUAFAR
                                                                                     DECLARATION THAT NO PARTY
                                                                                   REQUESTED A HEARING ON MOTION
                                                                                           LBR 9013-1(o)(3)

                                                          Debtor(s)                             [No Hearing Required]


 1. I am the  Movant(s) or  attorney for Movant(s) or  employed by attorney for Movant(s).

 2. On (date) 6/16/21 Movant(s) filed a motion or application (Motion) entitled: Chapter 7 Trustee’s Application
    for an Order Authorizing and Approving the Employment of Pachulski Stang Ziehl & Jones LLP, as General
    Bankruptcy Counsel Effective June 7, 2021.

 3. A copy of the Motion and notice of motion is attached to this declaration.

 4. On (date) 6/16/21 Movant(s), served a copy of  the notice of motion or  the notice of motion or  the
    Motion and notice of motion on required parties using the method(s) identified on the Proof of Service of
    the notice of motion.

 5. Pursuant to LBR 9013-1(o), the notice of motion provides that the deadline to file and serve a written
    response and request for a hearing is 14 days after the date of service of the notice of motion, plus 3
    additional days if served by mail, or pursuant to F.R. Civ. P. 5(b)(2)(D) or (F).

 6. More than 25 days have passed after Movant(s) served the notice of motion.

 7. I checked the docket for this bankruptcy case and/or adversary proceeding, and no response and request
    for hearing was timely filed.

 8. No response and request for hearing was timely served on Movant(s) via Notice of Electronic Filing, or at
    the street address, email address, or facsimile number specified in the notice of motion.




________________________________________________________________________________________
         This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California

December 2016                                              Page 3 F 9013-1.2.NO REQUEST.HEARING.DEC.DOCS_LA:338887.1 32274/001
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 9. Based on the foregoing, and pursuant to LBR 9013-1(o), a hearing is not required. Movant(s) request that
    the court grant the motion and enter an order without a hearing.

 I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 Date: 07/12/21                                                             /s/ John W. Lucas
                                                                            Signature

                                                                            John W. Lucas
                                                                            Printed name




 _______________________________________________________________________________________________________________________
          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California

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                                                                   1    John W. Lucas (CA Bar No. 271038)
                                                                        PACHULSKI STANG ZIEHL & JONES LLP
                                                                   2    10100 Santa Monica Blvd., 13th Floor
                                                                        Los Angeles, CA 90067
                                                                   3    Tel: 310/277-6910
                                                                        Facsimile: 310/201-0760
                                                                   4    E-mail: jlucas@pszjlaw.com

                                                                   5    [Proposed] Attorneys for David K. Gottlieb, Chapter 7 Trustee
                                                                        of the Estates of Solyman Yashouafar and Massoud Aaron
                                                                   6    Yashouafar

                                                                   7

                                                                   8                                  UNITED STATES BANKRUPTCY COURT

                                                                   9                                   CENTRAL DISTRICT OF CALIFORNIA

                                                                  10                                     SAN FERNANDO VALLEY DIVISION

                                                                  11    In re:                                                     Case No.: 1:16-bk-12255-GM
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                                                                                   Chapter 7
                                                                  12    SOLYMAN YASHOUAFAR and MASSOUD
                                                                        AARON YASHOUAFAR,1                                         Jointly Administered
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                                           Debtors.                Case No.: 1:16-bk-12255-GM
                                                                  14                                                               Chapter 7
                                                                        In re:
                                                                  15                                                               Case No.: 1:16-bk-12408-GM
                                                                        SOLYMAN YASHOUAFAR,                                        Chapter 7
                                                                  16
                                                                                                           Debtor.                 CHAPTER 7 TRUSTEE’S APPLICATION
                                                                  17                                                               FOR AN ORDER AUTHORIZING AND
                                                                        In re:                                                     APPROVING THE EMPLOYMENT OF
                                                                  18                                                               PACHULSKI STANG ZIEHL & JONES LLP,
                                                                        MASSOUD AARON YASHOUAFAR,                                  AS GENERAL BANKRUPTCY COUNSEL
                                                                  19                                                               EFFECTIVE JUNE 7, 2021; DECLARATION
                                                                                                           Debtor.                 OF JOHN W. LUCAS
                                                                  20
                                                                        Affects:                                                   [No Hearing Required]
                                                                  21
                                                                         Both Debtors
                                                                  22     Solyman Yashouafar
                                                                         Massoud Aaron Yashouafar
                                                                  23
                                                                                                           Debtors.
                                                                  24

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                                                                         The Debtors, together with the last four digits of each Debtor’s social security number are: Solyman Yashouafar
                                                                       (5875) and Massoud Aron Yashouafar (6590).

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                                                                   1           David K. Gottlieb, the duly appointed Chapter 7 trustee (the “Trustee”) in the jointly

                                                                   2   administered bankruptcy cases (the “Cases”) of Solyman Yashouafar and Massoud Aaron

                                                                   3   Yashouafar (the “Debtors”), hereby applies to the Court (the “Application”) for entry of an order

                                                                   4   authorizing the Trustee’s retention and employment of Pachulski Stang Ziehl & Jones LLP (“PSZJ”

                                                                   5   or the “Firm”) as his general bankruptcy counsel effective as of June 7, 2021.

                                                                   6           This Application is brought pursuant to section 327 of title 11 of the United States Code (the

                                                                   7   “Bankruptcy Code”), Federal Rule of Bankruptcy Procedure 2014, and Local Bankruptcy Rule

                                                                   8   2014-1. In support of the Application, the Trustee represents as follows:

                                                                   9                                                       I.

                                                                  10                                             BACKGROUND

                                                                  11           The Chapter 11 Cases. On August 3, 2016, almost five years ago, petitioning creditors
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   Fereydoun Dayani, Yona Samih, and N&S Investment, LLC c/o Sina Navidbakhsh (the “Petitioning
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Creditors”) filed (a) an involuntary petition for relief under chapter 11 of the Bankruptcy Code
                                           ATTORNEYS AT LAW




                                                                  14   against debtor Solyman, bearing case number 16-12555-GM, and (b) an involuntary petition for

                                                                  15   relief under chapter 11 of the Bankruptcy Code against debtor Massoud, bearing case number 16-

                                                                  16   12408. Shortly thereafter, the Petitioning Creditors and Solyman stipulated to entry of an order for

                                                                  17   relief and appointment of a chapter 11 trustee, and the United States Trustee sought and obtained

                                                                  18   appointment of a chapter 11 trustee in the Massoud Case. The Trustee was appointed as chapter 11

                                                                  19   trustee in the Cases, and the Cases have been jointly administered pursuant to Federal Rule of

                                                                  20   Bankruptcy Procedure 1015(b).

                                                                  21           The Trustee began his administration of the Cases well after litigation related to the Debtors’

                                                                  22   major assets had begun, at which point the largest creditors, the Abselets, had commenced

                                                                  23   approximately seven law suits in three states and taken numerous related actions to execute on liens

                                                                  24   and judgments. By application and order, the Trustee employed PSZJ as his general bankruptcy

                                                                  25   counsel in his capacity as chapter 11 trustee for the Debtors. [Docket Nos. 159, 244]. The initial

                                                                  26   work of the Trustee and PSZJ involved investigation of a complex set of transfers and ensuing

                                                                  27   litigation. Over the next several years, the Trustee investigated numerous complicated transactions

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                                                                   1   and pursued causes of action on behalf of the estates. The Trustee successfully resolved multi-party

                                                                   2   claims and litigation, but the estates’ assets remain nominal.

                                                                   3            Conversion to Chapter 7. In October 2016, the Trustee filed a Motion for Order

                                                                   4   Converting Cases to Chapter 7 [Docket No. 192] (the “Conversion Motion”) based on his

                                                                   5   conclusion that it was not necessary to administer the Cases in chapter 11 and that claims could be

                                                                   6   addressed by liquidation under chapter 7. However, after the filing of the Conversion Motion, an

                                                                   7   official committee of unsecured creditors (the “Committee”) was appointed. By various stipulations

                                                                   8   and orders, the Conversion Motion was continued until a date in May 2017. Prior to a hearing, the

                                                                   9   Debtors filed their own motions to convert their Cases to chapter 7, which were opposed by the

                                                                  10   Committee. The Court tentatively denied conversion without prejudice.

                                                                  11           In September 2019, the Debtors renewed their Conversion Motion [Docket Nos. 710-11],
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                                                                  12   which was again opposed by the Committee [Docket No. 721]. On October 25, 2019, the Court
                                        LOS ANGELES, CALIFORNIA




                                                                  13   entered orders granting the Conversion Motion [Docket No. 730] and subsequently appointed the
                                           ATTORNEYS AT LAW




                                                                  14   Trustee to act as chapter 7 trustee [Docket No. 733].

                                                                  15           PSZJ continued to serve as the Trustee’s counsel following conversion of the Cases, but the

                                                                  16   Firm did not file a new employment application. In December 2020, PSZJ and other professionals

                                                                  17   stipulated to waive fees incurred during the chapter 7 in connection with final fee applications and in

                                                                  18   order to permit the Trustee to make a small distribution to unsecured creditors. See Stipulation By

                                                                  19   and Between Pachulski Stang Ziehl & Jones LLP, Development Specialists, Inc., and Berkeley

                                                                  20   Research Group, on the One Hand, and the United States Trustee, on the Other Hand, Regarding

                                                                  21   Final Fee Applications [Docket No. 805]. PSZJ waived more than $100,000 of professional fees.

                                                                  22           The Trustee is prepared to reconcile final claims, make distributions, and file a final report to

                                                                  23   close the Cases. The Trustee seeks approval to re-engage PSZJ to provide legal services to the

                                                                  24   Trustee that will be required to wind down these Cases under chapter 7.

                                                                  25                                                       II.

                                                                  26                                RELIEF REQUESTED AND SCOPE OF SERVICES

                                                                  27           The Trustee seeks Court approval to retain PSZJ, effective as of June 7, 2021, to provide

                                                                  28   legal services to the Trustee. The Trustee seeks to re-engage PSZJ because of its particular

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                                                                   1   bankruptcy expertise and because it served as bankruptcy counsel during the Cases for over four

                                                                   2   years. In addition to its knowledge of the facts and issues in these Cases, PSZJ has served as general

                                                                   3   bankruptcy counsel to chapter 7 and 11 trustees in many cases and to a wide range of debtors in

                                                                   4   various industries. PSZJ also has extensive experience in representing creditors’ committee,

                                                                   5   individual creditors, special interest committees, asset purchasers and investors in both in and out of

                                                                   6   court restructurings. A copy of the resume John W. Lucas, the PSZJ attorney who is expected to be

                                                                   7   principally responsible for the Cases is attached to his declaration (the “Lucas Declaration”) as

                                                                   8   Exhibit A. PSZJ’s depth of bankruptcy experience in general, and its experience handling these

                                                                   9   Cases in particular, makes it well qualified to represent the Trustee. More information about PSZJ is

                                                                  10   available at its website, www.pszjlaw.com. Therefore, the Trustee believes that PSZJ’s retention is

                                                                  11   in the best interest of the Estates.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12           The Trustee desires to retain PSZJ, at the expense of the Debtors’ estates, to represent him in
                                        LOS ANGELES, CALIFORNIA




                                                                  13   his duties with respect to the review and reconciliation of claims against the Debtors’ estates, any
                                           ATTORNEYS AT LAW




                                                                  14   distributions to creditors, and the filing of a final chapter 7 report.

                                                                  15                                                        III.

                                                                  16                                           PSZJ’S DISCLOSURES

                                                                  17           To the best of the Trustee’s knowledge and based upon the Lucas Declaration filed herewith,

                                                                  18   neither PSZJ nor any of its partners, of counsel, or associates has any connection with the Debtors,

                                                                  19   any creditor of the estates, any party in interest, their respective attorneys or accountants, the United

                                                                  20   States Trustee, or any person employed in the Office of the United States Trustee, except (a) PSZJ

                                                                  21   has served as counsel to the Chapter 11 Trustee in these Cases, and (b) to the extent set forth in the

                                                                  22   Declaration of John W. Lucas appended hereto.

                                                                  23                                                        IV.

                                                                  24                                          PSZJ’S COMPENSATION

                                                                  25           Subject to the provisions of the Bankruptcy Code, the Bankruptcy Rules and the Local

                                                                  26   Bankruptcy Rules, and this Court’s rules, the Trustee proposes to pay PSZJ its customary hourly

                                                                  27   rates in effect from time to time and to reimburse the Firm according to its customary reimbursement

                                                                  28   policies. The hourly rates of John Lucas and Gail Greenwood, the attorneys currently expected to be

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                                                                   1       John W. Lucas (CA Bar No. 271038)
                                                                           PACHULSKI STANG ZIEHL & JONES LLP
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                                                                           Los Angeles, CA 90067
                                                                   3       Tel: 310/277-6910
                                                                           Facsimile: 310/201-0760
                                                                   4       E-mail: jlucas@pszjlaw.com

                                                                   5       [Proposed] Attorneys for David K. Gottlieb, Chapter 7 Trustee
                                                                           of the Estates of Solyman Yashouafar and Massoud Aaron
                                                                   6       Yashouafar

                                                                   7

                                                                   8
                                                                                                      UNITED STATES BANKRUPTCY COURT
                                                                   9
                                                                                                       CENTRAL DISTRICT OF CALIFORNIA
                                                                  10
                                                                                                         SAN FERNANDO VALLEY DIVISION
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12       In re:                                                  Case No.: 1:16-bk-12255-GM
                                                                                                                                   Chapter 7
                                        LOS ANGELES, CALIFORNIA




                                                                  13       SOLYMAN YASHOUAFAR and MASSOUD
                                           ATTORNEYS AT LAW




                                                                           AARON YASHOUAFAR,2                                      Jointly Administered
                                                                  14
                                                                                                           Debtors.                Case No.: 1:16-bk-12255-GM
                                                                  15                                                               Chapter 7
                                                                           In re:
                                                                  16                                                               Case No.: 1:16-bk-12408-GM
                                                                           SOLYMAN YASHOUAFAR,                                     Chapter 7
                                                                  17
                                                                                                           Debtor.                 DECLARATION OF JOHN W. LUCAS IN
                                                                  18                                                               SUPPORT OF CHAPTER 7 TRUSTEE’S
                                                                           In re:                                                  APPLICATION TO EMPLOY PACHULSKI
                                                                  19
                                                                                                                                   STANG ZIEHL & JONES LLP AS
                                                                           MASSOUD AARON YASHOUAFAR,
                                                                  20                                                               GENERAL BANKRUPTCY COUNSEL
                                                                                                           Debtor.                 EFFECTIVE JUNE 7, 2021
                                                                  21
                                                                           Affects:                                                [No Hearing Required]
                                                                  22
                                                                            Both Debtors
                                                                  23        Solyman Yashouafar
                                                                            Massoud Aaron Yashouafar
                                                                  24
                                                                                                           Debtors.
                                                                  25

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                                                                        The Debtors, together with the last four digits of each Debtor’s social security number are: Solyman Yashouafar
                                                                       (5875) and Massoud Aron Yashouafar (6590).

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                                                                   1             I, John W. Lucas, declare and state as follows:

                                                                   2             1.       I am a partner of Pachulski Stang Ziehl & Jones LLP (“PSZJ” or the “Firm”)3 and am

                                                                   3   duly admitted to practice in the State of California and before this Court.

                                                                   4             2.       I make this declaration in support of the application (the “Application”) filed by

                                                                   5   David K. Gottlieb, Chapter 7 Trustee (the “Trustee”) of the Estates of Solyman Yashouafar and

                                                                   6   Massoud Aaron Yashouafar (collectively, the “Debtors”), to employ PSZJ as his general bankruptcy

                                                                   7   counsel, effective as of June 7, 2021.

                                                                   8             3.       The name, address, telephone number, and facsimile number of the Firm are as

                                                                   9   follows:
                                                                                                        Pachulski Stang Ziehl & Jones LLP
                                                                  10                                    10100 Santa Monica Blvd., 13th Floor
                                                                  11                                    Los Angeles, California 90067
                                                                                                        Telephone: (310) 277-6910
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                    Facsimile: (310) 201-0760
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                4.        The Firm served as counsel to the Trustee in his capacity as the chapter 11 trustee in
                                                                  14   these Cases pursuant to the Order Approving Chapter 11 Trustee’s Application to Employ Pachulski
                                                                  15   Stang Ziehl & Jones LLP as General Bankruptcy Counsel Effective September 16, 2016 [Dkt. No.
                                                                  16   244]. The Firm continued to represent the Trustee in his capacity as chapter 11 trustee through the
                                                                  17   end of 2020 and waived substantial fees as set forth in the Stipulation By and Between Pachulski
                                                                  18   Stang, Ziehl & Jones LLP, Development Specialists, Inc., and Berkeley Research Group, on the One
                                                                  19   Hand, and the United States Trustee, on the Other Hand, Regarding Final Fee Applications [Docket
                                                                  20   No. 805]. Consequently, the Firm is very familiar with the facts and issues in these Cases.
                                                                  21              5.      The Firm has extensive expertise in the areas of insolvency, bankruptcy and other
                                                                  22   debtor/creditor matters, and in representing individual creditors, creditors’ committees, special
                                                                  23   interest committees, asset purchasers, and investors in both in and out-of-court restructurings. The
                                                                  24   Firm has served as general bankruptcy counsel to chapter 7 and 11 trustees in many cases and to a
                                                                  25   wide range of debtors and committees in various industries. I will be the attorney at the Firm who is
                                                                  26   principally responsible for representation of the Trustee in the chapter 7 Cases. A copy of my
                                                                  27   resume is attached hereto as Exhibit A.
                                                                  28
                                                                       3
                                                                           Capitalized terms not defined herein have the meanings used in the Application.
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                                                                   1           6.       The Trustee desires to retain the Firm, at the expense of the chapter 7 estates, to

                                                                   2   represent him in his duties with respect to the review and reconciliation of claims against the

                                                                   3   Debtors’ estates, any distributions to creditors, and the filing of a final chapter 7 report.

                                                                   4           7.       Subject to the provisions of the Bankruptcy Code, the Bankruptcy Rules and the

                                                                   5   Local Bankruptcy Rules and this Court’s rules, the Trustee proposes to pay the Firm its customary

                                                                   6   hourly rates in effect from time to time and to reimburse the Firm according to its customary

                                                                   7   reimbursement policies. My hourly rate is $995, effective as of January 1, 2021, the hourly rate of

                                                                   8   Gail Greenwood, another PSZJ attorney at the Firm expected to work on these cases, is $950, and

                                                                   9   the hourly rate for Beth Dassa, the paralegal assigned to the Cases, is $460. The hourly rates of all of

                                                                  10   the Firm’s attorneys and paraprofessionals are attached hereto as Exhibit B.

                                                                  11             8.     To the best of my knowledge, neither PSZJ nor any of its partners, of counsel, or
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   associates has any connection with the Debtors, any creditor of the estates, any party in interest, their
                                        LOS ANGELES, CALIFORNIA




                                                                  13   respective attorneys or accountants, the United States Trustee, or any person employed in the Office
                                           ATTORNEYS AT LAW




                                                                  14   of the United States Trustee, except (a) PSZJ has served as counsel to the Trustee in his capacity as

                                                                  15   chapter 11 trustee in these Cases, and (b) to the extent set forth in the previously filed Declaration of

                                                                  16   Jeremy V. Richards in Support of Chapter 11 Trustee’s Application to Employ Pachulski Stang Ziehl

                                                                  17   & Jones LLP as General Bankruptcy Counsel Effective September 16, 2016 [Docket No. 160], a

                                                                  18   copy of which is attached hereto as Exhibit C.

                                                                  19           9.       To the best of my knowledge, neither PSZJ nor any of its partners, of counsel, or

                                                                  20   associates is an equity security holder or an “insider” of the Debtors as that term is defined in section

                                                                  21   101(31) of the Bankruptcy Code.

                                                                  22           10.      To the best of my knowledge, neither PSZJ nor any of its partners, of counsel, or

                                                                  23   associates (a) is or was, within two years before the date of the filing of the petition, a director,

                                                                  24   officer, or employee of the Debtors, or (b) holds a prepetition claim against the Debtors.

                                                                  25           11.      PSZJ incurred professional fees in connection with its representation of the Trustee in

                                                                  26   his capacity as chapter 11 trustee and continued representation thereafter. PSZJ’s professional fees

                                                                  27   and expenses through October 24, 2019, the date prior to conversion, were approved by the Court

                                                                  28   [Docket No. 822], and PSZJ waived additional fees and expenses.

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                                                                   1            12.     To the best of my knowledge, neither PSZJ nor any of its partners, of counsel, or

                                                                   2   associates has any interest materially adverse to the interest of the Estates or of any class of creditors

                                                                   3   or equity security holders, by reason of any direct or indirect relationship to, connection with, or

                                                                   4   interest in the Debtors for any other reason. Accordingly, PSZJ and its partners, of counsel, and

                                                                   5   associates are “disinterested persons” as that term is defined and used in sections 101(14) and 327 of

                                                                   6   the Bankruptcy Code with respect to the Chapter 7 Estates.

                                                                   7            13.     The Firm conducted an extensive conflicts check relating to its proposed retention as

                                                                   8   counsel for the Trustee in his capacity as chapter 7 trustee, including a conflict check of the Debtors,

                                                                   9   professionals and all creditors of each of the Debtors. Thus far, the Firm has not encountered any

                                                                  10   creditors of the Debtors or parties in interest in which an actual conflict exists between the Firm and

                                                                  11   such parties. If, at any subsequent time during the course of these proceedings, the Firm learns of
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   any other representation which may give rise to a conflict, the Firm will promptly file with the Court
                                        LOS ANGELES, CALIFORNIA




                                                                  13   and the Office of the United States Trustee an amended declaration identifying and specifying such
                                           ATTORNEYS AT LAW




                                                                  14   involvement.

                                                                  15            14.     Given the Firm’s experience representing various parties in interest in bankruptcy

                                                                  16   proceedings throughout the United States, the Firm may have represented creditors’ committees in

                                                                  17   other cases in which the members of such committees or their constituencies have included creditors

                                                                  18   and current or former creditors of the Debtors; however, PSZJ is not representing any of those

                                                                  19   entities in the Cases and will not represent any members of these committees in any claims that they

                                                                  20   may have collectively or individually against the Debtors.

                                                                  21            15.     To the best of my knowledge, PSZJ and certain of its shareholders, counsel and

                                                                  22   associates may have in the past represented, may currently represent, and will likely in the future

                                                                  23   represent creditors of the Debtors in connection with matters unrelated to the Debtors and these

                                                                  24   Cases.

                                                                  25            16.     The Firm has represented and, in some cases, continues to represent the Trustee,

                                                                  26   solely in the capacity as trustee or examiner in bankruptcy cases that were or are pending in the

                                                                  27   Central District of California that are unrelated to these Cases.

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                                                                   1           17.      The Firm has not received any retainer in contemplation of its proposed employment

                                                                   2   as counsel to the Trustee in his capacity as chapter 7 trustee. The Firm will seek compensation

                                                                   3   during the Cases as permitted by sections 330 and 331 of the Bankruptcy Code and Bankruptcy Rule

                                                                   4   2016. The Firm understands that its compensation in the Cases is subject to the prior approval of this

                                                                   5   Court. No compensation will be paid except upon application to and approval by this Court after

                                                                   6   notice and a hearing in accordance with sections 330 and 331 of the Bankruptcy Code, Bankruptcy

                                                                   7   Rule 2016, and Local Bankruptcy Rule 2016-1.

                                                                   8           18.      The attorneys at the Firm who will be involved in the Cases are familiar with the

                                                                   9   Bankruptcy Code, the Bankruptcy Rules, and Local Bankruptcy Rules and will comply with them.

                                                                  10           To the best of my knowledge, after conducting or supervising the investigation described

                                                                  11   above, I declare under penalty of perjury under the laws of the United States of America, that the
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   foregoing is true and correct.
                                        LOS ANGELES, CALIFORNIA




                                                                  13           Executed this 16th day of June, 2021, at San Francisco, California.
                                           ATTORNEYS AT LAW




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                                                                  15                                                /s/ John W. Lucas
                                                                                                                       John W. Lucas
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                     HOURLY BILLING RATES FOR PROFESSIONALS AND PARAPROFESSIONALS OF
                                     PACHULSKI STANG ZIEHL & JONES LLP
                                             January 2021 RATES

  Partners                Billing Rate   Of Counsel            Billing Rate   Paralegals               Billing Rate
  Isaac M. Pachulski        $1,695.00    Richard J. Gruber       $1,275.00    Elizabeth C. Thomas           $460.00
  Jeffrey H. Davidson       $1,645.00    Judith Elkin            $1,195.00    Beth D. Dassa                 $460.00
  Richard M. Pachulski      $1,595.00    Karen B. Dine           $1,195.00    Patricia J. Jeffries          $460.00
  Laura Davis Jones         $1,445.00    Steven J. Kahn          $1,195.00    Karina K. Yee                 $460.00
  Robert J. Feinstein       $1,395.00    Daryl G. Parker         $1,095.00    Patricia E. Cuniff            $460.00
  Dean A. Ziehl             $1,395.00    James E. Mahoney        $1,095.00    La Asia S. Canty              $460.00
  Alan J. Kornfeld          $1,395.00    James K.T. Hunter       $1,095.00    Nancy P F Lockwood            $460.00
  James I. Stang            $1,345.00    Mary F. Caloway         $1,095.00    Kerri L. Labrada              $460.00
  Scott L. Hazan            $1,345.00    Harry D. Hochman        $1,095.00    Cheryl A. Knotts              $425.00
  David J. Barton           $1,345.00    Victoria A. Newmark     $1,050.00    Michael A. Matteo             $425.00
  Ira D. Kharasch           $1,325.00    Jonathan J. Kim            $995.00
  Robert B. Orgel           $1,325.00    Gina F. Brandt             $950.00
  Jeremy V. Richards        $1,295.00    Michael R. Seidl           $950.00   Law Library Dir.         Billing Rate
  Debra Grassgreen          $1,295.00    Beth E. Levine             $950.00   Leslie A. Forrester           $475.00
  Jeffrey N. Pomerantz      $1,295.00    Erin Gray                  $950.00
  Bradford J. Sandler       $1,295.00    Gail S. Greenwood          $950.00   Law Clerks/Clerks        Billing Rate
  Henry C. Kevane           $1,275.00    Gregory V. Demo            $950.00   Sheryle L. Pitman             $375.00
  David M. Bertenthal       $1,275.00    Jeffrey P. Nolan           $925.00   Beatrice M. Koveleski         $375.00
  Andrew W. Caine           $1,245.00    Robert M. Saunders         $925.00   Charles J. Bouzoukis          $375.00
  John A. Morris            $1,245.00    Colin R. Robinson          $925.00   Andrea R. Paul                $375.00
  Linda F. Cantor           $1,245.00    Elissa A. Wagner           $925.00   Karen S. Neil                 $375.00
  Kenneth H. Brown          $1,225.00    Tavi C. Flanagan           $875.00
  Michael D. Warner         $1,225.00    Miriam Manning             $850.00
  Richard E. Mikels         $1,195.00    William L. Ramseyer        $850.00
  Stanley E. Goldich        $1,175.00    Gillian N. Brown           $850.00
  Iain A.W. Nasatir         $1,145.00    Peter J. Keane             $845.00
  Maxim B. Litvak           $1,125.00    Cia H. Mackle              $750.00
  Paul J. Labov             $1,095.00    Ayala A. Hassell           $725.00
  James E. O’Neill          $1,050.00    Brittany M. Michael        $695.00
  Joshua M. Fried           $1,050.00
  Shirley S. Cho            $1,050.00    Associates            Billing Rate
  Gabriel I. Glazer         $1,050.00    Ben L. Wallen              $750.00
  John D. Fiero             $1,045.00    Steven W. Golden           $725.00
  Jeffrey W. Dulberg        $1,025.00    Hayley R. Winograd         $695.00
  Malhar S. Pagay              $995.00
  John W. Lucas                $995.00
  Jason S. Pomerantz           $975.00
  Ilan D. Scharf               $895.00
  Nina L. Hong                 $875.00
  Timothy P. Cairns            $875.00
  Teddy M. Kapur               $875.00
  Jason H. Rosell              $845.00




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                                                                   1   Jeremy V. Richards (CA Bar No. 102300)
                                                                       John W. Lucas (CA Bar No. 271038)
                                                                   2   PACHULSKI STANG ZIEHL & JONES LLP
                                                                       10100 Santa Monica Blvd., 13th Floor
                                                                   3   Los Angeles, CA 90067
                                                                       Telephone: 310/277-6910
                                                                   4   Facsimile: 310/201-0760
                                                                       E-mail: jrichards@pszjlaw.com
                                                                   5            jlucas@pszjlaw.com

                                                                   6   Proposed Attorneys for David K. Gottlieb, Chapter 11 Trustee

                                                                   7
                                                                                                        UNITED STATES BANKRUPTCY COURT
                                                                   8
                                                                                                         CENTRAL DISTRICT OF CALIFORNIA
                                                                   9
                                                                                                           SAN FERNANDO VALLEY DIVISION
                                                                  10

                                                                  11   In re:                                                       Case No.: 1:16-bk-12255-GM
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   SOLYMAN YASHOUAFAR,                                          Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                        Debtor.                 DECLARATION OF JEREMY V.
                                           ATTORNEYS AT LAW




                                                                                                                                    RICHARDS IN SUPPORT OF CHAPTER
                                                                  14                                                                11 TRUSTEE’S APPLICATION TO
                                                                                                                                    EMPLOY PACHULSKI STANG ZIEHL
                                                                  15                                                                & JONES LLP AS GENERAL
                                                                                                                                    BANKRUPTCY COUNSEL EFFECTIVE
                                                                  16                                                                SEPTEMBER 16, 2016

                                                                  17             I, Jeremy V. Richards, declare and state as follows:

                                                                  18             1.       I am a partner of Pachulski Stang Ziehl & Jones LLP (“PSZJ” or the “Firm”)1 and am

                                                                  19   duly admitted to practice in the State of California and before this Court.

                                                                  20             2.       I make this declaration in support of the application (the “Application”) filed by

                                                                  21   David K. Gottlieb, Chapter 11 Trustee of the estate of Solyman Yashouafar (the “Trustee”), to

                                                                  22   employ the PSZJ as general bankruptcy counsel, effective as of September 16, 2016.

                                                                  23             3.       The name, address, telephone number, and facsimile number of the Firm are as

                                                                  24   follows:
                                                                                                        Pachulski Stang Ziehl & Jones LLP
                                                                  25                                    10100 Santa Monica Blvd., 13th Floor
                                                                  26                                    Los Angeles, California 90067
                                                                                                        Telephone: (310) 277-6910
                                                                  27                                    Facsimile: (310) 201-0760

                                                                  28
                                                                       1
                                                                           Capitalized terms not defined herein have the meanings used in the Application.

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                                                                   1           4.       The Firm has particular expertise in the areas of insolvency, business reorganization,

                                                                   2    and other debtor/creditor matters. The Firm has served as general bankruptcy counsel to chapter 7

                                                                   3    and 11 trustees in many cases and to a wide range of debtors in various industries. In addition, the

                                                                   4    Firm has served as counsel to unsecured creditors’ committees in numerous chapter 11 cases. The

                                                                   5    Firm also has extensive experience in representing individual creditors, special interest committees,

                                                                   6    asset purchasers and investors in both in and out of court restructurings. Copies of the resumes of

                                                                   7    the Firm’s attorneys who are expected to be principally responsible for the bankruptcy case of

                                                                   8    Solyman Yashouafar (the “Case”), are attached hereto as Exhibit A.

                                                                   9           5.       The Trustee desires to retain the Firm, at the expense of the estate, to undertake such

                                                                  10    tasks as required by the Trustee, including, but not limited to the following:

                                                                  11                    (a)         Advising the Trustee concerning the rights and remedies of the estate in
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12    regard to the assets of the estate, and with respect to the secured, priority and unsecured claims of
                                        LOS ANGELES, CALIFORNIA




                                                                  13    creditors;
                                           ATTORNEYS AT LAW




                                                                  14                    (b)         Representing the Trustee in connection with financial and business matters,

                                                                  15    including the sale of any assets;

                                                                  16                    (c)         Representing the Trustee in connection with investigation of potential causes

                                                                  17    of action, and the litigation thereof if warranted and directed by the Trustee;

                                                                  18                    (d)         Investigating and prosecuting preference, fraudulent transfer and other

                                                                  19    actions, if any, arising under the Trustee’s avoiding powers;

                                                                  20                    (e)         Representing the Trustee in any proceeding or hearing in the Bankruptcy

                                                                  21    Court, and in any action in other courts where the rights of the estate may be litigated or affected;

                                                                  22                    (f)         Conducting examinations of witnesses, claimants, or adverse parties and

                                                                  23    preparing and assisting in the preparation of motions, applications, answers, orders, memoranda,

                                                                  24    reports and papers, etc.;

                                                                  25                    (g)         Advising the Trustee concerning the requirements of the Bankruptcy Code

                                                                  26    and Rules and the requirements of the Office of the United States Trustee relating to the

                                                                  27    administration of the estate; and

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                                                                   1                    (h)         Rendering such other advice and services as the Trustee may require in

                                                                   2    connection with the Case.

                                                                   3             6.     To the best of my knowledge, neither the Firm nor any of its partners, of counsel, or

                                                                   4    associates has any connection with Solyman Yashouafar (the “Debtor”), any creditor of the estate,

                                                                   5    any party in interest, their respective attorneys or accountants, the United States Trustee, or any

                                                                   6    person employed in the Office of the United States Trustee, except to the extent set forth below:

                                                                   7                    (a)         The Firm has in the past represented the Trustee in his capacity as chapter 7

                                                                   8    and 11 trustees in other cases wholly unrelated to this matter.

                                                                   9                    (b)         The Firm represents many committees, whose members may be creditors in

                                                                  10    the Debtor’s chapter 11 case; however, the Firm is not representing any of those entities in this Case

                                                                  11    and will not represent any members of these committees in any claims that they may have
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12    collectively or individually against the Debtor.
                                        LOS ANGELES, CALIFORNIA




                                                                  13                    (c)         The Trustee or the Firm may retain various professionals during the pendency
                                           ATTORNEYS AT LAW




                                                                  14    of this Case, and the Trustee or the Firm may retain other professionals in the future. The Firm has

                                                                  15    previously worked with and will continue to work with certain of these professionals on various

                                                                  16    representations, at times representing the same parties and at other times representing parties with

                                                                  17    similar interests or parties with adverse interests.

                                                                  18                    (d)         This Firm and certain of its shareholders, counsel and associates may have in

                                                                  19    the past represented, and may currently represent and will likely in the future represent creditors of

                                                                  20    the Debtor in connection with matters unrelated to the Debtor and the Case. At this time, the Firm is

                                                                  21    not aware of any current representations in unrelated cases of parties who are creditors of the

                                                                  22    Debtor or other parties on the conflicts list attached hereto as Exhibit B.

                                                                  23           7.       To the best of my knowledge, neither the Firm nor any of its partners, of counsel, or

                                                                  24   associates is a creditor, equity security holder, or an “insider” of the Debtor as that term is defined in

                                                                  25   section 101(31) of the Bankruptcy Code.

                                                                  26           8.       To the best of my knowledge, neither the Firm nor any of its partners, of counsel, or

                                                                  27   associates is or was, within two years before the date of the filing of the petition, a director, officer,

                                                                  28   or employee of the Debtor.


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                                                                   1           9.       To the best of my knowledge, neither the Firm nor any of its partners, of counsel, or

                                                                   2   associates has any interest materially adverse to the interest of the estate or of any class of creditors

                                                                   3   or equity security holders, by reason of any direct or indirect relationship to, connection with, or

                                                                   4   interest in the Debtor for any other reason. Accordingly, the Firm and its partners, of counsel, and

                                                                   5   associates are “disinterested persons” as that term is defined and used in sections 101(14) and 327 of

                                                                   6   the Bankruptcy Code.

                                                                   7           10.      Subject to the provisions of the Bankruptcy Code, the Bankruptcy Rules and the

                                                                   8   Local Bankruptcy Rules and this Court’s rules, the Trustee proposes to pay the Firm its customary

                                                                   9   hourly rates in effect from time to time and to reimburse the Firm according to its customary

                                                                  10   reimbursement policies. The attorneys currently expected to be principally responsible for the Case,

                                                                  11   and their respective hourly rates effective as of January 1, 2016, are as follows: Jeremy V. Richards
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   ($995); John W. Lucas ($675). The hourly rate for Beth Dassa, the paralegal assigned to the Case, is
                                        LOS ANGELES, CALIFORNIA




                                                                  13   $325. The hourly rates of all of the Firm’s attorneys and paraprofessionals are attached hereto as
                                           ATTORNEYS AT LAW




                                                                  14   Exhibit C.

                                                                  15           11.      PSZJ proposes that the fees and expenses incurred will be charged to the estates of

                                                                  16   Solyman Yashouafar and Massoud Aaron Yashouafar2 on a joint and several basis. The Trustee and

                                                                  17   PSZJ believe that this is warranted because substantially all of the assets of both debtors are co-

                                                                  18   owned either directly or indirectly and they have a common core group of creditors relating to the

                                                                  19   same universe of assets. However, in the event the Trustee or PSZJ undertakes services that relate

                                                                  20   solely to either Solyman Yashouafar or Massoud Aaron Yashouafar, they will attribute such fees and

                                                                  21   expenses arising from those services to the applicable debtors’ estate. Regardless, categorized time

                                                                  22   records will be maintained for all services.

                                                                  23           12.      The Firm has not received any retainer in contemplation of its proposed employment.

                                                                  24   However, it is contemplated that the Firm will seek interim compensation during the Case as

                                                                  25   permitted by sections 330 and 331 of the Bankruptcy Code and Bankruptcy Rule 2016. The Firm

                                                                  26   understands that its compensation in the Case is subject to the prior approval of this Court. No

                                                                  27   2
                                                                        Contemporaneously with the filing of the Application, the Trustee filed an application to retain PSZJ in Massoud Aaron
                                                                       Yashouafar’s chapter 11 case [Case No. 16-12408]. The Trustee is seeking to have the cases jointly administered for
                                                                  28   procedural proposes.


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                                                                   1   compensation will be paid except upon application to and approval by this Court after notice and a

                                                                   2   hearing in accordance with sections 330 and 331 of the Bankruptcy Code, Bankruptcy Rule 2016,

                                                                   3   and Local Bankruptcy Rule 2016-1.

                                                                   4           13.      The attorneys at the Firm that will be involved in the Case are familiar with the

                                                                   5   Bankruptcy Code, the Bankruptcy Rules, and Local Bankruptcy Rules and will comply with them.

                                                                   6           14.      The Firm has not represented and does not currently represent a related debtor in a

                                                                   7   bankruptcy case in this Court or any other court.

                                                                   8           To the best of my knowledge, after conducting or supervising the investigation described

                                                                   9   above, I declare under penalty of perjury under the laws of the United States of America, that the

                                                                  10   foregoing is true and correct.

                                                                  11           Executed this 11th day of October, 2016, at Los Angeles, California.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                                                               /s/ Jeremy V. Richards_____________
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                                               Jeremy V. Richards
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                                                                   1                                              EXHIBIT A
                                                                   2
                                                                                     BIOGRAPHIES OF JEREMY V. RICHARDS AND JOHN W. LUCAS
                                                                   3

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P ACHULSKI S TANG Z IEHL & J ONES LLP




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10100 Santa Monica Blvd.
13th Floor                       Jeremy V. Richards
Los Angeles, CA 90067-4003
                                 Tel: 310.277.6910     |   jrichards@pszjlaw.com



EDUCATION                        Mr. Richards has extensive experience representing the major
Oxford University (B.A., first
                                 constituencies in bankruptcies, out-of-court workouts, and related litigation,
class honors, Jurisprudence,     with an emphasis on debtor and creditors' committee representations in
1979; B.C.L., first class        large, complex reorganizations. He has written and lectured extensively on
honors, Law, 1980)               insolvency and insolvency-related issues, and has served as director and
                                 program committee chair for the Turnaround Management Association
Harvard University (LL.M.
1981)
                                 Southern California chapter. He is a graduate of Oxford University (B.A.
                                 1979; B.C.L. 1980) and was a Frank Knox Fellow at Harvard Law School
David Blank Open                 (1980-81), where he received his LL.M. He holds an AV Preeminent Peer
Scholarship in                   Rating, Martindale-Hubbell's highest recognition for ethical standards and
Jurisprudence, 1976-1979;
                                 legal ability; has been named a "Super Lawyer" in the field of Bankruptcy &
Frank Knox Fellowship,
1980-1981
                                 Creditor/Debtor Rights every year since 2007 in a peer survey conducted by
                                 Law & Politics and the publishers of Los Angeles magazine, an honor
BAR AND COURT                    bestowed on only 5% of Southern California attorneys; and was selected by
ADMISSIONS                       Best Lawyers in America. Mr. Richards is admitted to practice in California,
                                 and is a resident in our Los Angeles office.
1982, California

                                 Representations
                                 Chapter 11 debtors: Woodside Homes (formerly one of the nation's largest
                                 privately owned homebuilders); People's Choice Home Loan (formerly a
                                 major national subprime lender and loan originator); Thorpe Insulation
                                 Company (formerly one of the largest California-based installers and
                                 distributors of insulation products); Peregrine Systems (major softward
                                 developer/distributor); Murray, Inc. (paper products); Precision Specialty
                                 Metals

                                 Creditors' committees: AMC Entertainment; Qintex Entertainment;
                                 Weintraub Entertainment; Leisure Technology; First Capital Holdings; Loews
                                 Cineplex




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                     Jeremy V. Richards (Cont.)



                     Bondholder & equity committees: Barry's Jewelers; Sun World

                     Trustees: Georges Marciano (Guess Jeans cofounder); Triad America
                     Corporation; Oppenheimer Industries

                     Examiners: Metropolitan Mortgage (real estate investment and finance
                     entity); DVI, Inc. (equipment financer)

                     Secured creditors in Meruelo Maddux Properties

                     Provides regular insolvency advice to a major Hollywood studio and other
                     significant entertainment industry participants

                     Lead insolvency counsel to a national homebuilder in the successful out-of-
                     court restructure of more than $400M of debt


                     Programs and Lectures
                     California Bankruptcy Forum (real estate bankruptcy issues); Turnaround
                     Management Association (debtor-in-possession financing issues); Beverly
                     Hills Bar Association (entertainment bankruptcy issues)




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150 California Street
15th Floor                    John W. Lucas
San Francisco, CA
94111-4500                    Tel: 415.217.5108     |   jlucas@pszjlaw.com



EDUCATION                     Mr. Lucas represents debtors, creditors' committees, creditors, and trustees
University of California at
                              in chapter 11 cases and companies in out-of-court restructurings with an
Los Angeles (B.A. magna       emphasis on transportation, financial products, food services, retail,
cum laude,1992)               automotive, and technology. Mr. Lucas is a graduate of the University of
                              California at Los Angeles and received his J.D. from the University of
University of Oregon School
                              Oregon School of Law and was a member of the Oregon Law Review. Mr.
of Law (J.D. 2004)
                              Lucas is admitted to practice in California and New York and is a resident in
BAR AND COURT
                              our San Francisco office.
ADMISSIONS
2010, California              Representations
2005, New York                Chapter 11 debtors: Blue Earth, NewZoom Inc.; Response Genetics; Elephant
                              Bar Restaurants; Z'Tejas Restaurants; Highway Technologies; American
CLERKSHIPS
                              Suzuki Motor Corporation; Global Aviation; Mesa Air Group; Lehman
Law clerk, Judge Robert D.    Brothers Holdings; Champion Enterprises; Heller Ehrman LLP; Lexington
Drain (Bankr. S.D.N.Y.        Precision; Silicon Graphics
2004-06)
                              Chapter 11 creditors: Cottonwood Cajon in Premier Golf Properties; Lehman
                              Commercial Paper Inc. and Lehman ALI Inc. in Palmdale Hills Property LLC
                              (“SunCal”); indenture trustee in Calpine; bondholders in Portrait
                              Corporations of America

                              Creditors’ committees: Rdio Inc.; Yellow Cab of San Francisco; Champps/Fox
                              & Hound Restaurants; Trident Microsystems (Far East) Ltd.

                              Trustees: Evergreen International Aviation; Exigen (USA)

                              Section 363 asset sales: Represented buyer in Nurserymen’s Exchange

                              Out-of-court restructurings: Security Capital Assurance Ltd. and a
                              professional sports franchise




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                     John W. Lucas (Cont.)



                     Professional Affiliations
                     Cochair, American Bankruptcy Institute Annual Southwest Bankruptcy
                     Conference (2014-)

                     Advisory Board Member, American Bankruptcy Institute Annual Southwest
                     Bankruptcy Conference (2011-2014)


                     Publications
                     Debtor-in-Possession Financing
                     Funding a Chapter 11 Case
                     December 2012
                     Creditor's Self-Interest Precludes Fee Reimbursement From the Estate
                     September 2012
                     First Day Motions (3d ed.)
                     A Guide to the Critical First Days of a Bankruptcy Case
                     American Bankruptcy Institute, June 2012
                     "Approval of the DIP Financing Order" in Debtor-in-Possession Financing:
                     Funding a Chapter 11 Case (ABI 2012)
                     Coauthor, "The Role and Retention of the Chief Restructuring Officer," in The
                     Americas Restructuring and Insolvency Guide (2008/2009)
                     "The Article 9 Buyer’s Seller Rule & The Justification for Its Harsh Effects,"
                     83 Oregon Law Review 289 (2004)




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                                                                                                            CONFLICTS CHECK PARTIES
                                                                   3
                                                                       Encino - 16661 Ventura Blvd Trust,   Levene, Neale, Bender, Yoo & Brill   N&S Investment LLC
                                                                   4   a Delaware                           L.L.P.                               18345 Ventura Blvd Suite 500
                                                                       c/o Keith C. Owens                   10250 Constellation Blvd., Suite     Tarzana, CA 91356-4245
                                                                   5   Venable LLP                          1700
                                                                       2049 Century Park East #2300         Los Angeles, CA 90067-6253
                                                                   6   Los Angeles, CA 90067-3125
                                                                       Soda Partners, LLC                   United States Trustee (SV)           San Fernando Valley Division
                                                                   7   Law Offices of Ronald Richards &     915 Wilshire Blvd, Suite 1850        21041 Burbank Blvd,
                                                                       Associates                           Los Angeles, CA 90017-3560           Woodland Hills, CA 91367-6606
                                                                   8   P.O. Box 11480
                                                                       Beverly Hills, CA 90213-4480
                                                                       AXA Equitable                        American Express                     Andrews Davis, P.C.
                                                                   9
                                                                       Box 371459                           Box 0001                             100 N Broadway, Ste. 3300
                                                                       Pittsburgh, PA 15250-7459            Los Angeles, CA 90096-8000           Oklahoma City, OK 73102-8831
                                                                  10   Ashley M. McDow                      BB&T                                 BMW Card Services
                                                                       Baker & Hostetler LLP                c/o Peter J. Nugent                  PO Box 660545
                                                                  11   11601 Wilshire Blvd. Ste. 1400       2711 North Haskell Ave. Ste. 1300    Dallas, TX 75266-0545
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       Los Angeles, CA 90025-1750           Lockbox 19
                                                                  12                                        Dallas, TX 75204-2911
                                                                       BMW Financial Services               Babak Cohen / Bita Kohan             Bank of America
                                        LOS ANGELES, CALIFORNIA




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                                           ATTORNEYS AT LAW




                                                                       Customer Service Center              1216 Saltair Ave., #102              PO Box 15019
                                                                       Po Box 3608                          Los Angeles, CA 90025-1398           Wilmington, DE 19886-5019
                                                                  14   Dublin OH 43016-0306
                                                                       Barclay Card (Card Services)         Barnett and Csoka                    Bloomingdale’s
                                                                  15   PO Box 60517                         3883 Howard Hughes Parkway, Ste.     PO Box 183083
                                                                       City of Industry, CA 91716-0517      790                                  Columbus, OH 43218-3083
                                                                  16                                        Las Vegas, NV 89169-5995
                                                                       Bloomingdale’s (Amex)                Capital One                          Chase Card Services
                                                                  17   PO Box 183083                        PO Box 60599                         PO Box 94014
                                                                       Columbus, OH 43218-3083              City of Industry, CA 91716-0599      Palatine, IL 60094-4014
                                                                  18   Chase Card Services (Southwest)      Chester Tower, LLC                   CitiCards
                                                                       PO Box 94014                         PO Box 32428                         PO Box 689197
                                                                  19   Palatine, IL 60094-4014              Los Angeles, CA 90032-0428           Des Moines, IA 50368-9197
                                                                       City of Beverly Hills                DMARC 2007 CD5 Garden Street,        DMF Lighting
                                                                  20   455 North Rexford Drive              LLC                                  1118 E. 223rd St. Unit 1
                                                                       Beverly Hills, CA 90210-4817         Aires Law Firm                       Carson, CA 90745-4210
                                                                  21                                        180 Newport Center Dr, Ste. 260
                                                                                                            Newport Beach, CA 92660-0901
                                                                  22   David Pouraba                        Diners Club                          Discover
                                                                       8271 Melrose Ave Ste. 200            PO Box 6101                          PO Box 29033
                                                                  23   Los Angeles, CA 90046-6826           Carol Stream, IL 60197-6101          Phoenix, AZ 85038-9033
                                                                       East West Bank (Cardmember           Edmond Lavi                          Eli Javid Bendavid
                                                                  24   Service)                             5177 Avenida Hacienda                6839 Kings Harbor Drive
                                                                       PO Box 790408                        Tarzana, CA 91356-4224               Rancho Palos Verdes, CA 90275-
                                                                       Saint Louis, MO 63179-0408                                                4621
                                                                  25
                                                                       Elizabeth Sax                        Fereydoun Dayani                     Great Lakes (US Department of
                                                                       6355 Topanga Canyon Blvd. Ste#       18345 Ventura Blvd Suite 500         Education)
                                                                  26   255                                  Tarzana, CA 91356-4245               PO Box 530229
                                                                       Woodland Hills, CA 91367-2117                                             Atlanta, GA 30353-0229
                                                                  27   Greenblatt Loveridge                 Gregor Law Offices                   Hamid Ahmadi
                                                                       22151 Ventura Blvd. Ste. 200         2550 Fifth Avenue, Ste. 709          6906 Rain Creek Parkway
                                                                  28   Woodland Hills, CA 91364-1666        San Diego, CA 92103-6624             Austin, TX 78759-7038


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                                                                   1   Hamid Joseph Nourmand                 Henry David                        Holthouse, Carlin & Van Trigt, LLP
                                                                       1801 Century Park East, Suite 1830    The David Firm                     11444 W. Olympic Blvd, 11th Floor
                                                                   2   Los Angeles, CA 90067-2320            617 W. 7th St. Ste. 702            Los Angeles, CA 90064-1500
                                                                                                             Los Angeles, CA 90017-3853
                                                                   3   Howard L. Abselet                     Howard L. Abselet                  Howard Weg
                                                                       114 Pine Street                       c/o Henry S. David                 Robins Kaplan LLP
                                                                   4   Port Jefferson Station, NY 11776-     The David Firm(R)                  2049 Century Park East Ste. 3400
                                                                       3161                                  617 W. 7th St., Suite 702          Los Angeles, CA 90067-3208
                                                                   5                                         Los Angeles, CA 90017-3853
                                                                       Iraj Zokai                            JCBL Trust                         Jay J. Fathi
                                                                   6   1058 22nd Street                      16661 Ventura Blvd Ste. 608        235 1/2 Elm St.
                                                                       Santa Monica, CA 90403-4518           Encino, CA 91436-4831              Beverly Hills, CA 90212-4010
                                                                       John Hancock Life Insurance           Keith Owens                        Kluger & Stein
                                                                   7
                                                                       Company                               Venable LLP                        16000 Ventura Blvd, Suite 1000
                                                                       PO Box 894764                         2049 Century Park East Ste. 2300   Encino, CA 91436-2762
                                                                   8   Los Angeles, CA 90189-4764            Los Angeles, CA 90067-3125
                                                                       Law Offices of Homan Taghdiri         Solyman Yashouafar                 Macy’s
                                                                   9   1801 Century Park East, Ste. 830      4633 White Oak Place               PO Box 689195
                                                                       Los Angeles, CA 90067-2336            Encino, CA 91316-4336              Des Moines, IA 50368-9195
                                                                  10   Mark Smith                            Mayer Makabi                       Mehrdad Taghdiri
                                                                       16225 Ventura Blvd. Ste. 600          10432 Eastborn Ave., Apt #205      9744 Wilshire Blvd. Ste.306
                                                                  11   Encino, CA 91436                      Los Angeles, CA 90024-6188         Beverly Hills, CA 90212-1813
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       MER Enterprises                       Mercedes Benz Financial Services   Mercury Insurance
                                                                  12   P.O. Box 32428                        P. O. Box 5209                     PO Box 11991
                                                                       Los Angeles, CA 90032-0428            Hoffman Estates, IL 60192-5209     Santa Ana, CA 92711-1991
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                       Michael W. Vivoli                     Milken Community High School       N&S Investments LLC
                                                                       2550 Fifth Avenue, Ste.709            15800 Zeldin’s Way                 18345 Ventura Blvd. Ste.500
                                                                  14   San Diego, CA 92103-6624              Los Angeles, CA 90049-6861         Tarzana, CA 91356-4245
                                                                       Neiman Marcus                         Neman Brothers and Asst            Nordstrom Bank
                                                                  15   PO Box 5235                           1525 S Broadway                    PO Box 79137
                                                                       Carol Stream, IL 60197-5235           Los Angeles, CA 90015-3030         Phoenix, AZ 85062-9137
                                                                  16   Paradise Spa Owners Association       Parvin Rabbani                     Philip Pournazarian
                                                                       c/o Mark A. Solomon                   133 North Willaman                 20722 Wells Drive
                                                                  17   Solomon Dwiggins & Freer, LTD.        Beverly Hills, CA 90211-2112       Woodland Hills, CA 91364-3437
                                                                       9060 W. Cheyenne Ave.
                                                                  18   Las Vegas, NV 89129-8933
                                                                       Quality Swimming Pool                 Raymond Carino                     Raymond Yashouafar
                                                                  19   2938 W. 15th St.                      c/o Mark A. Solomon                16661 Ventura Blvd Ste. 608
                                                                       Los Angeles, CA 90006-4238            Solomon Dwiggins & Freer, LTD.     Encino, CA 91436-4831
                                                                  20                                         9060 W. Cheyenne Ave.
                                                                                                             Las Vegas, NV 89129-8933
                                                                  21   Reliable Properties                   Robert M. Heller                   Rodney Yashouafar
                                                                       6399 Wilshire Blvd., Ste. 604         1880 Century Park East, Ste.615    2208 Parnell Ave.
                                                                  22   Los Angeles, CA 90048-5709            Los Angeles, CA 90067-1622         Los Angeles, CA 90064-2005
                                                                       Simon Barlava                         Sina Abselet                       Soda Partners, LLC
                                                                       524 N. Alpine Dr.                     19 Doral Drive                     c/o RRA
                                                                  23
                                                                       Beverly Hills, CA 90210-3316          Manhasset, NY 11030-3907           PO Box 11480
                                                                                                                                                Beverly Hills, CA 90213-4480
                                                                  24   Southern California Edison            The Gas Company                    The Nimkoff Firm
                                                                       PO Box 600                            PO Box C                           28 Robert Circle
                                                                  25   Rosemead, CA 91770-0600               Monterey Park, CA 91754-0932       Syosset, NY 11791-3828
                                                                       Thomas J. Weiss                       Time Warner Cable                  US Bank
                                                                  26   Law Offices of Thomas J. Weiss        PO Box 60074                       PO Box 5229
                                                                       1925 Century Park East Ste. 2140      City of Industry, CA 91716-0074    Cincinnati OH 45201-5229
                                                                  27   Los Angeles, CA 90067-2722

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                                                                   1   US Bank                             Unite Mileage Plus (Chase Card       World Real Estate Group
                                                                       c/o Keith Owens                     Services)                            PO Box 15925
                                                                   2   Venable LLP                         PO Box 94014                         Beverly Hills, CA 90209-1925
                                                                       2049 Century Park East Ste. 2300    Palatine, IL 60094-4014
                                                                   3   Los Angeles, CA 90067-3125
                                                                       Yahouda Yahoudai                    Yona Samih                           Ziba Sarafian
                                                                   4   10390 Wilshire Blvd. #1203          11766 Wilshire Blvd Suite 260        18345 Ventura Blvd., Ste. 500
                                                                       Los Angeles, CA 90024-6451          Los Angeles, CA 90025-6573           Tarzana, CA 91356-4245
                                                                   5   Brian L Davidoff                    C John M Melissinos                  David Keith Gottlieb (TR)
                                                                       Greenberg Glusker                   Greenberg Glusker                    15233 Ventura Blvd, 9th Floor
                                                                   6   1900 Ave of the Stars 21st Fl       1900 Avenue of the Stars 21st Fl     Sherman Oaks, CA 91403-2250
                                                                       Los Angeles, CA 90067-4301          Los Angeles, CA 90067-4301
                                                                       Howard L. Abselet                   Massoud Aaron Yashouafar, the        Attn: Keith C. Owens
                                                                   7
                                                                       c/o Henry S. David                  Registered Holders of CD 2006-       2049 Century Park East
                                                                       617 W. 7th St., Suite 702           CD3 U.S. B                           Suite 2300
                                                                   8   Los Angeles, CA 90017-3853          910 North Rexford Drive Venable      Los Angeles, CA 90067-3125
                                                                                                           LLP
                                                                   9                                       Beverly Hills, CA 90210-2911
                                                                       BMW Financial Services              US Bank                              Anthem Blue Cross
                                                                  10   PO Box 78103                        PO Box 790408                        PO Box 54580
                                                                       Phoenix, AZ 85062-8103              Saint Louis, MO 63179-0408           Los Angeles, CA 90054-0580
                                                                  11   California Bank & Trust (Bankcard   Camelia Kusuma                       Discover
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       Center)                             24150 Victory Blvd                   PO Box 61033
                                                                  12   PO Box 30833                        Woodland Hills, CA 91367-1255        Carol Stream, IL 60197-6103
                                                                       Salt Lake City, UT 84130-0833
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                       Marc Smith                          Massoud Aaron Yashouafar             Phillips 66 Co./SYNCB
                                                                       Krane & Smith                       16661 Ventura Boulevard, Suite 600   PO Box 530942
                                                                  14   16255 Ventura Blvd. Ste. 600        Encino, CA 91436-1927                Atlanta, GA 30353-0942
                                                                       Encino, CA 91436-2311
                                                                  15   Ready Fresh                         Union Bank/First Bankcard (FNB       Vivopools
                                                                       PO Box 856158                       Omaha U.B.)                          825 S. Primrose Ave. Suite H
                                                                  16   Louisville, KY40285-6158            PO Box 2557                          Monrovia, CA 91016-3413
                                                                                                           Omaha, NE 68103-2557
                                                                  17   Wraytec Security Services           Fereydoun Dayani                     Mark E Goodfriend
                                                                       4730 Walnut St.                     18345 Ventura Blvd Suite 500         Law Offices of Mark E Goodfriend
                                                                  18   Simi Valley, CA 93063-1440          Tarzana, CA 91356-4245               16055 Ventrua Blvd
                                                                                                                                                Encino, CA 91436-2610
                                                                  19   Solyman Yashouafar                  Massoud Yashouafar                   Simon Barlava
                                                                       Howard Abselet                      Roxanna Aboudi                       Justin Yashouafar
                                                                  20   Raymond Yashouafar                  Joshua Paradise Holdings             Neman Family

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                                                                   1                                            EXHIBIT C
                                                                   2       HOURLY BILLING RATES FOR PROFESSIONALS AND PARAPROFESSIONALS OF
                                                                                           PACHULSKI STANG ZIEHL & JONES LLP
                                                                   3                              JANUARY 2016 RATES
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P ACHULSKI S TANG Z IEHL & J ONES LLP




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                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




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                    HOURLY BILLING RATES FOR PROFESSIONALS AND PARAPROFESSIONALS OF
                                    PACHULSKI STANG ZIEHL & JONES LLP
                                           JANUARY 2016 RATES

  Partners                Billing Rate   Of Counsel            Billing Rate   Paralegals               Billing Rate
  Isaac M. Pachulski        $1,195.00    Richard J. Gruber          $975.00   Kathleen F. Finlayson         $325.00
  Jeffrey H. Davidson       $1,145.00    Daryl G. Parker            $875.00   Elizabeth C. Thomas           $325.00
  Richard M. Pachulski      $1,145.00    James E. Mahoney           $875.00   Beth D. Dassa                 $325.00
  Laura Davis Jones         $1,050.00    James K.T. Hunter          $875.00   Patricia J. Jeffries          $325.00
  Dean A. Ziehl             $1,025.00    Steven J. Kahn             $875.00   Monica A. Molitor             $325.00
  James I. Stang            $1,025.00    Harry D. Hochman           $795.00   Felice S. Harrison            $325.00
  Robert J. Feinstein          $995.00   Shirley S. Cho             $795.00   Karina K. Yee                 $325.00
  Ira D. Kharasch              $995.00   Victoria A. Newmark        $795.00   Margaret L. McGee             $325.00
  Jeremy V. Richards           $995.00   Maria Bove                 $750.00   Patricia E. Cuniff            $305.00
  Robert B. Orgel              $995.00   Gina F. Brandt             $725.00   Cheryl A. Knotts              $305.00
  Alan J. Kornfeld             $995.00   Jason S. Pomerantz         $725.00   Denise A. Harris              $305.00
  Andrew W. Caine              $950.00   Jeffrey Kandel             $725.00   Michael A. Matteo             $295.00
  Debra Grassgreen             $950.00   Jonathan J. Kim            $725.00
  Richard E. Mikels            $940.00   Malhar S. Pagay            $725.00
  Henry C. Kevane              $925.00   Michael R. Seidl           $695.00   Law Library Dir.         Billing Rate
  Jeffrey N. Pomerantz         $925.00   Beth E. Levine             $695.00   Leslie A. Forrester           $350.00
  David J. Barton              $925.00   Erin Gray                  $695.00
  David M. Bertenthal          $925.00   Gail S. Greenwood          $695.00   Law Clerks/Clerks        Billing Rate
  John A. Morris               $925.00   Jeffrey P. Nolan           $695.00   Timothy P. Cairns             $325.00
  Linda F. Cantor              $925.00   Robert M. Saunders         $695.00   Sheryle L. Pitman             $250.00
  Stanley E. Goldich           $875.00   Colin R. Robinson          $695.00   Beatrice M. Koveleski         $250.00
  Iain A.W. Nasatir            $875.00   Gillian N. Brown           $675.00   Charles J. Bouzoukis          $250.00
  Kenneth H. Brown             $875.00   Elissa A. Wagner           $675.00   Andrea R. Paul                $250.00
  Bradford J. Sandler          $875.00   Miriam Manning             $675.00   Karen S. Neil                 $250.00
  Ellen M. Bender              $850.00   William L. Ramseyer        $675.00
  John D. Fiero                $825.00   Cia H. Mackle              $550.00
  Maxim B. Litvak              $825.00   Jason H. Rosell            $550.00
  James E. O’Neill             $795.00
  Joshua M. Fried              $795.00   Associates            Billing Rate
  Jeffrey W. Dulberg           $750.00   Peter J. Keane             $550.00
  Nina L. Hong                 $695.00   Joseph M. Mulvihill        $425.00
  Gabriel I. Glazer            $695.00   Steven W. Golden           $425.00
  Ilan D. Scharf               $675.00
  John W. Lucas                $675.00
  Teddy M. Kapur               $595.00




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                                      PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067

A true and correct copy of the foregoing document entitled (specify): DECLARATION OF JEREMY V. RICHARDS IN
SUPPORT OF CHAPTER 11 TRUSTEE’S APPLICATION TO EMPLOY PACHULSKI STANG ZIEHL & JONES LLP AS
GENERAL BANKRUPTCY COUNSEL EFFECTIVE SEPTEMBER 16, 2016 will be served or was served (a) on the judge
in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
October 11, 2016, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:


                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) October 11, 2016, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Solyman Yashouafar
4633 White Oak Place
Encino, CA 91316
                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) October 11, 2016, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.

VIA PERSONAL DELIVERY
The Honorable Geraldine Mund
United States Bankruptcy Court
21041 Burbank Blvd., Suite 312, Courtroom 303,
Woodland Hills, CA 91367

                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 October 11, 2016            MYRA KULICK                                       /s/ Myra Kulick
 Date                        Printed Name                                      Signature




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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

         Larry G Ball lball@hallestill.com, gjohnson@hallestill.com
         Carol Chow carol.chow@ffslaw.com
         Henry S David hdavid@davidfirm.com, hdavid@davidfirm.com
         Brian L Davidoff bdavidoff@greenbergglusker.com,
          calendar@greenbergglusker.com;jking@greenbergglusker.com
         Fahim Farivar ffarivar@bakerlaw.com,
          amcdow@bakerlaw.com,mdelaney@bakerlaw.com,sgaeta@bakerlaw.com
         Thomas M Geher tmg@jmbm.com, bt@jmbm.com;fc3@jmbm.com;tmg@ecf.inforuptcy.com
         Mark E Goodfriend markgoodfriend@yahoo.com
         David Keith Gottlieb (TR) dkgtrustee@dkgallc.com,
          dgottlieb@ecf.epiqsystems.com,rjohnson@dkgallc.com,akuras@dkgallc.com
         Andrew V Jablon ajablon@rpblaw.com, mlynch@rpblaw.com
         Robert B Kaplan rbk@jmbm.com
         Matthew Kramer mkramer@wwhgd.com, krodriguez@wwhgd.com
         John W Lucas jlucas@pszjlaw.com, ocarpio@pszjlaw.com
         Ashley M McDow amcdow@bakerlaw.com,
          mdelaney@bakerlaw.com;sgaeta@bakerlaw.com;rojeda@bakerlaw.com;ffarivar@bakerlaw.com
         Kevin Meek kmeek@robinskaplan.com, kevinmeek32@gmail.com;kmeek@ecf.inforuptcy.com
         Keith C Owens kowens@venable.com, bclark@venable.com;khoang@venable.com;DGIge@venable.com
         Jeremy V Richards jrichards@pszjlaw.com, bdassa@pszjlaw.com;imorris@pszjlaw.com
         Ronald N Richards ron@ronaldrichards.com, nick@ronaldrichards.com
         S Margaux Ross margaux.ross@usdoj.gov
         Nico N Tabibi nico@tabibilaw.com
         United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
         Howard J Weg hweg@robinskaplan.com

2. SERVED BY UNITED STATES MAIL:

See attached Label Matrix




This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
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Label Matrix forCase
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                                           Bankruptcy Group MIC 92E  Page 19 of 22     c/o Keith C. Owens
Case 1:16-bk-12255-GM                      P. O. Box 826880                                Venable LLP
Central District of California             Sacramento, CA 94280-0001                       2049 Century Park East #2300
San Fernando Valley                                                                        Los Angeles, CA 90067-3125
Tue Oct 11 11:51:39 PDT 2016
Franchise Tax Board                        Internal Revenue Service                        L.A. County Tax Collector
Bankruptcy Section MS: A-340               PO Box 7346                                     Bankruptcy Unit
P. O. Box 2952                             Philadelphia, PA 19101-7346                     P.O. Box 54110
Sacramento, CA 95812-2952                                                                  Los Angeles, CA 90054-0110


Los Angeles City Clerk                     N&S Investment, LLC                             Securities & Exchange Commission
P.O. Box 53200                             18345 Ventura Blvd., Ste 500                    444 South Flower St., Suite 900
Los Angeles, CA 90053-0200                 Tarzana, CA 91356-4245                          Los Angeles, CA 90071-2934



San Fernando Valley Division               AXA Equitable                                   Andrews Davis, P.C
21041 Burbank Blvd,                        Box 371459                                      100 N Broadway, Ste. 3300
Woodland Hills, CA 91367-6606              Pittsburgh, PA 15250-7459                       Oklahoma City, OK 73102-8831



Anthem Blue Cross                          Ashley M. McDow                                 BB&T
PO Box 54580                               Baker & Hostetler LLP                           c/o Peter J. Nugent
Los Angeles, CA 90054-0580                 11601 Wilshire Blvd. Ste. 1400                  2711 North Haskell Ave. Ste. 1300
                                           Los Angeles, CA 90025-1750                      Lockbox 19
                                                                                           Dallas, TX 75204-2911

Babak Cohen / Bita Kohan                   Bank of America                                 California Bank & Trust (Bankcard Center)
1216 Saltair Ave. #102                     PO Box 15019                                    PO Box 30833
Los Angeles, CA 90025-1398                 Wilmington, DE 19886-5019                       Salt Lake City, UT 84130-0833



Camelia Kusuma                             Capital One                                     Chase Card Services
24150 Victory Blvd                         PO Box 60599                                    PO Box 94014
Woodland Hills, CA 91367-1255              City of Industry, CA 91716-0599                 Palatine, IL 60094-4014



Chase Card Services (Southwest)            Chester Tower, LLC                              Citicards
PO Box 94014                               PO Box 32428                                    PO Box 689197
Palatine, IL 60094-4014                    Los Angeles, CA 90032-0428                      Des Moines, IA 50368-9197



City of Beverly Hills                      DMARC 2007 CD5 Garden Street, LLC               DMF Lighting
455 North Rexford Drive                    Aires Law Firm                                  1118 E. 223rd St. Unit 1
Beverly Hills, CA 90210-4817               180 Newport Center Dr, Ste. 260                 Carson, CA 90745-4210
                                           Newport Beach, CA 92660-0901


David Pourbaba                             Discover                                        ELI BENDAVID
8271 Melrose Ave Ste. 200                  PO Box 61033                                    1535 RUHLAND AVE
Los Angeles, CA 90046-6826                 Carol Stream, IL 60197-6103                     MANHATTAN BEACH CA 90266-7127

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                                         6839 Kings Harbor Drive  Page 20 of 22     6355 Topanga Canyon Blvd. Ste# 255
Tarzana, CA 91356-4224                   Rancho Palos Verdes, CA 90275-4621            Woodland Hills, CA 91367-2117



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                                         Los Angeles, CA 90017-3853

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Carol Stream, IL 60197-5235              Los Angeles, CA 90015-3030                    Beverly Hills, CA 90211-2112

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(p)US BANK                              US Bank                                     Union Bank/First Bankcard (FNB Omaha U.B.)
PO BOX 5229                             c/o Keith Owens                             PO Box 2557
CINCINNATI OH 45201-5229                Venable LLP                                 Omaha, NE 68103-2557
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PO Box 94014                            915 Wilshire Blvd, Suite 1850               825 S. Primrose Ave. Suite H
Palatine, IL 60094-4014                 Los Angeles, CA 90017-3560                  Monrovia, CA 91016-3413



World Real Estate Group                 Wraytec Security Services                   Yahouda Yahoudai
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Yona Samih                              Ziba Sarafian                               David Keith Gottlieb (TR)
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                                        Los Angeles, CA 90017-3853                  Encino, CA 91436-2610


Solyman Yashouafar
4633 White Oak Place
Encino, CA 91316-4336

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                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


US Bank
PO Box 790408
Saint Louis, MO 63179-0408




                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Courtesy NEF                                        (u)PY Note Investors, LLC                            (u)Van Nuys Plywood, LLC




(u)Danny Pakravan                                      (u)Robert M. Heller, Esq.                            (u)Solyman Yashouafar
                                                                                                            Encino, CA




(d)Yona Samih                                          (u)the Registered Holders of CD 2006-CD3 U.S.        End of Label Matrix
11766 Wilshire Blvd Suite 260                                                                               Mailable recipients     87
Los Angeles, CA 90025-6573                                                                                  Bypassed recipients      8
                                                                                                            Total                   95




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                                                                   1                                         PROOF OF SERVICE OF DOCUMENT
                                                                   2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
                                                                       address is:
                                                                   3

                                                                   4                     10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067
                                                                   5   A true and correct copy of the foregoing document entitled CHAPTER 7 TRUSTEE’S
                                                                       APPLICATION FOR AN ORDER AUTHORIZING AND APPROVING THE
                                                                   6   EMPLOYMENT OF PACHULSKI STANG ZIEHL & JONES LLP, AS HIS GENERAL
                                                                       BANKRUPTCY COUNSEL EFFECTIVE JUNE 7, 2021; DECLARATION OF JOHN W.
                                                                   7   LUCAS will be served or was served (a) on the judge in chambers in the form and manner required
                                                                       by LBR 5005-2(d); and (b) in the manner stated below:
                                                                   8
                                                                       1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
                                                                   9   Pursuant to controlling General Orders and LBR, the foregoing document will be served by the court
                                                                       via NEF and hyperlink to the document. On June 16, 2021, I checked the CMp/ECF docket for this
                                                                  10   bankruptcy case or adversary proceeding and determined that the following persons are on the
                                                                       Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                                                                                                Service information continued on attached page
                                                                  12
                                                                       2. SERVED BY UNITED STATES MAIL:
                                        LOS ANGELES, CALIFORNIA




                                                                  13   On June 16, 2021, I served the following persons and/or entities at the last known addresses in this
                                           ATTORNEYS AT LAW




                                                                       bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
                                                                  14   envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the
                                                                       judge here constitutes a declaration that mailing to the judge will be completed no later than 24
                                                                  15   hours after the document is filed.
                                                                  16                                                                            Service information continued on attached page
                                                                  17   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
                                                                       TRANSMISSION OR EMAIL (state method for each person or entity served): Pursuant to
                                                                  18   F.R.Civ.P. 5 and/or controlling LBR, on June ___, 2021, I served the following persons and/or
                                                                       entities by personal delivery, overnight mail service, or (for those who consented in writing to such
                                                                  19   service method), by facsimile transmission and/or email as follows. Listing the judge here
                                                                       constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed
                                                                  20   no later than 24 hours after the document is filed.
                                                                  21

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                                                                                                                                                Service information continued on attached page
                                                                  24
                                                                       I declare under penalty of perjury under the laws of the United States that the foregoing is true and
                                                                  25   correct.
                                                                       June 16, 2021                    Nancy H. Brown                        /s/ Nancy H. Brown
                                                                  26          Date                          Printed Name                              Signature
                                                                  27

                                                                  28
                                                                                   This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

                                                                       June 2012                                                                                       F 9013-3.1.PROOF.SERVICE
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                                                                   1       1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING
                                                                              (NEF):
                                                                   2
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                                                                       June 2012                                                                                       F 9013-3.1.PROOF.SERVICE
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                                                                   1   2. SERVED BY UNITED STATES MAIL:
                                                                   2   See attached Label Matrix
                                                                   3
                                                                                      Solyman Yashouafar                                             Massoud Aaron Yashouafar
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                                                                                      Encino, CA 91316                                               Los Angeles, CA 90049
                                                                   5

                                                                   6      Attorneys for U.S. Bank National Association, as Trustee, as                 Attorneys for U.S. Bank National Association, as Trustee, as
                                                                          successor-in-interest to Bank of America, National Association, as           successor-in-interest to Bank of America, National Association,

                                                                   7      successor by merger to LaSalle Bank National Association, as                 as successor by merger to LaSalle Bank National Association, as
                                                                          Trustee for the Registered Holders of CD 2006-CD3 Commercial                 Trustee for the Registered Holders of CD 2006-CD3

                                                                   8      Mortgage Pass-Through Certificates                                           Commercial Mortgage Pass-Through Certificates
                                                                          Keith C. Owens                                                               Gregory A. Cross

                                                                   9      Jennifer L. Nassiri                                                          VENABLE LLP
                                                                          VENABLE LLP                                                                  750 East Pratt Street, Suite 900
                                                                  10      2049 Century Park East, Suite 2300                                           Baltimore, MD 21202
                                                                          Los Angeles, CA 90067                                                        Telephone: (410) 244-7400
                                                                  11      Telephone: (310) 229-9900                                                    Facsimile: (410) 244-7742
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                                                                          Facsimile: (310) 229-9901                                                    Email:     gacross@venable.com
                                                                  12      Email:       kowens@venable.com
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                                                                  13      Eli Javid Bendavid                                                           Fahim Farivar
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                                                                  14      Rancho Palos Verdes, CA 90275‐4621                                           18653 Ventura Blvd., Suite 362
                                                                                                                                                       Tarzana, CA 91356
                                                                  15      BMW Financial Services                                                       BMW Financial Services NA LLC
                                                                          Customer Service Center                                                      4515 Santa Fe Avenue
                                                                  16      PO Box 3608                                                                  Dept. APS
                                                                          Dublin OH 43016‐0306                                                         Oklahoma City, OK 73118‐7901
                                                                  17
                                                                          Attn: BMW Financial Services NA, LLC Dept.
                                                                  18      Ascension Capital Group
                                                                          Account: XXXXX4721
                                                                  19      P.O. Box 165028
                                                                          Irving, TX 75016
                                                                  20

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                                                                           47     Encino - 16661 Ventura Blvd Trust, a Delawar
0973-1                                  c/o Daniel J. McCarthy                         c/o Keith C. Owens
Case 1:16-bk-12255-GM                   Hill, Farrer & Burrill LLP                     Venable LLP
Central District of California          300 South Grand Ave.                           2049 Century Park East #2300
San Fernando Valley                     37th Floor                                     Los Angeles, CA 90067-3125
Wed Jun 16 11:52:41 PDT 2021            Los Angeles, CA 90071-3147
Fieldbrook, Inc.                        N&S Investment, LLC                            Pachulski Stang Ziehl & Jones LLP
c/o Daniel J. McCarthy                  18345 Ventura Blvd., Ste 500                   10100 Santa Monica Blvd., 13th Floor
Hill, Farrer & Burrill LLP              Tarzana, CA 91356-4245                         Los Angeles, CA 90067-4114
300 South Grand Ave.
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Los Angeles, CA 90071-3147
United States Trustee (SV)              San Fernando Valley Division                   AXA Equitable
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Los Angeles, CA 90017-3560              Woodland Hills, CA 91367-6606                  Pittsburgh, PA 15250-7459



Alliance Property Investments, Inc.     Andrews Davis, P.C                             Anthem Blue Cross
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Baker & Hostetler LLP                   c/o Peter J. Nugent                            1216 Saltair Ave. #102
11601 Wilshire Blvd. Ste. 1400          2711 North Haskell Ave. Ste. 1300              Los Angeles, CA 90025-1398
Los Angeles, CA 90025-1744              Lockbox 19
                                        Dallas, TX 75204-2911

(p)BANK OF AMERICA                      California Bank & Trust (Bankcard Center)      Camelia Kusuma
PO BOX 982238                           PO Box 30833                                   24150 Victory Blvd
EL PASO TX 79998-2238                   Salt Lake City, UT 84130-0833                  Woodland Hills, CA 91367-1255



Capital One                             (p)JPMORGAN CHASE BANK N A                     Chester Tower, LLC
PO Box 60599                            BANKRUPTCY MAIL INTAKE TEAM                    PO Box 32428
City of Industry, CA 91716-0599         700 KANSAS LANE FLOOR 01                       Los Angeles, CA 90032-0428
                                        MONROE LA 71203-4774


Citicards                               City of Beverly Hills                          DMARC 2007 CD5 Garden Street, LLC
PO Box 689197                           455 North Rexford Drive                        Aires Law Firm
Des Moines, IA 50368-9197               Beverly Hills, CA 90210-4817                   180 Newport Center Dr, Ste. 260
                                                                                       Newport Beach, CA 92660-0901


DMARC 2007-CD5 GARDEN STREET LLC        DMF Lighting                                   David Pourbaba
C/O AIRES LAW FIRM                      1118 E. 223rd St. Unit 1                       8271 Melrose Ave Ste. 200
6 HUGHES, SUITE 205                     Carson, CA 90745-4210                          Los Angeles, CA 90046-6826
IRVINE, CA 92618-2063


Discover                                ELI BENDAVID                                   Edmond Lavi
PO Box 61033                            1535 RUHLAND AVE                               5177 Avenida Hacienda
Carol Stream, IL 60197-6103             MANHATTAN BEACH CA 90266-7127                  Tarzana, CA 91356-4224
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                                                                      47     Encino Corporate Plaza, L.P.
6839 Kings Harbor Drive                 6355 Topanga Canyon Blvd. Ste# 255        c/o   Henry S. David
Rancho Palos Verdes, CA 90275-4621      Woodland Hills, CA 91367-2117             The   David Firm(R)
                                                                                  617   West 7th Street, Suite 702
                                                                                  Los   Angeles, CA 90017-3853

FRANCHISE TAX BOARD                     Fereydoun Dayani                          Figueroa Tower II, LP
BANKRUPTCY SECTION MS A340              18345 Ventura Blvd. Ste# 500              c/o Resch Polster & Berger, LLP
PO BOX 2952                             Tarzana, CA 91356-4245                    Attn: Michael Baum
SACRAMENTO CA 95812-2952                                                          1840 Century Park East, 17th FL
                                                                                  Los Angeles, CA 90067-2118

First National Buildings II, LLC        GREENBERG GLUSKER FIELDS                  Gregor Law Offices
c/o Resch Polster & Berger, LLP         CLAMAN & MACHTINGER LLP                   2550 Fifth Avenue, Ste. 709
Attn: Michael Baum                      1900 AVENUE OF THE STARS 21ST FL          San Diego, CA 92103-6624
1840 Century Park East, 17th FL         LOS ANGELES CA 90067-4301
Los Angeles, CA 90067-2118

Hamid Ahmadi                            Hamid Joseph Nourmand                     Henry David
6906 Rain Creek Parkway                 1801 Century Park East, Suite 1830        The David Firm
Austin, TX 78759-7038                   Los Angeles, CA 90067-2320                617 W. 7th St. Ste. 702
                                                                                  Los Angeles, CA 90017-3853


Holthouse, Carlin & Van Trigt, LLP      Howard L. Abselet                         Howard L. Abselet
11444 W. Olympic Blvd, 11th Floor       114 Pine Street                           c/o Henry S. David
Los Angeles, CA 90064-1500              Port Jefferson Station, NY 11776-3161     The David Firm(R)
                                                                                  617 W. 7th St., Suite 702
                                                                                  Los Angeles, CA 90017-3853

Howard Weg                              Internal Revenue Service                  Iraj Zokai
Robins Kaplan LLP                       300 North Los Angeles Street, MS 5022     1058 22nd Street
2049 Century Park East Ste. 3400        Los Angeles, CA 90012-3478                Santa Monica, CA 90403-4518
Los Angeles, CA 90067-3208


Israel Abselet                          JCBL Trust                                Jay J. Fathi
c/o Henry S. David                      16661 Ventura Blvd Ste. 608               235 1/2 Elm St.
The David Firm(R)                       Encino, CA 91436-4831                     Beverly Hills, CA 90212-4010
617 West 7th Street, Suite 702
Los Angeles, CA 90017-3853

John Hancock Life Insurance Company     Joshua Paradise Holdings, LLC             Kefayat Barlava
PO Box 894764                           c/o Larry G. Ball                         c/o Resch Polster & Berger, LLP
Los Angeles, CA 90189-4764              100 N. Broadway, Suite 2900               Attn: Michael Baum
                                        Oklahoma City, OK 73102-8865              1840 Century Park East, 17th FL
                                                                                  Los Angeles, CA 90067-2118

Keith Owens                             Kluger & Stein                            Law Offices of Homan Taghdiri
Venable LLP                             16000 Ventura Blvd, Suite 1000            1801 Century Park East, Ste. 830
2049 Century Park East Ste. 2300        Encino, CA 91436-2762                     Los Angeles, CA 90067-2302
Los Angeles, CA 90067-3125


Law Offices of Paras B Barnett          Levene, Neale, Bender, Yoo & Brill        M.E.R. Enterprises, Inc.
3883 Howard Hughes Pkwy Ste 790         10250 Constellation Blvd, Suite 170       P.O. Box 32428
Las Vegas NV 89169-5995                 Los Angeles, CA 90067-6253                Los Angeles, CA 90032-0428
               Case 1:16-bk-12255-GM   Doc 839
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Marc Smith                              MassoudDocument
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                                                                            47     Mayer Makabi
Krane & Smith                           16661 Ventura Boulevard, Suite 600           10432 Eastborn Ave., Appt #205
16255 Ventura Blvd. Ste. 600            Encino, CA 91436-1927                        Los Angeles, CA 90024-6188
Encino, CA 91436-2311


Mehrdad Taghdiri                        Mer Enterprises                              Michael W. Vivoli
9744 Wilshire Blvd. Ste.306             P.O. Box 32428                               2550 Fifth Avenue, Ste.709
Beverly Hills, CA 90212-1813            Los Angeles, CA 90032-0428                   San Diego, CA 92103-6624



Morris Barlava                          N&S Investments LLC                          Nasser Barlava
c/o Resch Polster & Berger, LLP         18345 Ventura Blvd. Ste.500                  c/o Resch Polster & Berger, LLP
Attn: Michael Baum                      Tarzana, CA 91356-4245                       Attn: Michael Baum
1840 Century Park East, 17th FL                                                      1840 Century Park East, 17th FL
Los Angeles, CA 90067-2118                                                           Los Angeles, CA 90067-2118

Neiman Marcus                           Neman Brothers and Asst                      Nourollah Siman, Ziba Sarafian
PO Box 5235                             1525 S Broadway                              18345 Ventura Blvd., Suite 500
Carol Stream, IL 60197-5235             Los Angeles, CA 90015-3030                   Tarzana, CA 91356-4245



Paradise Spa Owners Association         Parvin Rabbani                               Philip Pournazarian
c/o Solomon Dwiggins & Freer            133 North Willaman                           20722 Wells Drive
9060 W. Cheyenne Ave.                   Beverly Hills, CA 90211-2112                 Woodland Hills, CA 91364-3437
Las Vegas, NV 89129-8911


Phillips 66 Co./SYNCB                   Raymond Yashouafar                           Raymund Carino, on behalf of himself and oth
PO Box 530942                           16661 Ventura Blvd Ste. 608                  c/o Solomon Dwiggins & Freer
Atlanta, GA 30353-0942                  Encino, CA 91436-4831                        9060 W. Cheyenne Ave.
                                                                                     Las Vegas, NV 89129-8911


Ready Fresh                             Reliable Properties                          Robert M. Heller
PO Box 856158                           6399 Wilshire Blvd., Ste. 604                1880 Century Park East, Ste.615
Louisville, KY40285-6158                Los Angeles, CA 90048-5709                   Los Angeles, CA 90067-1622



Rodney Yashouafar                       Simon Barlava                                Sina Abselet
1033 Hilts Avenue                       c/o Resch Polster & Berger, LLP              19 Doral Drive
Los Angeles, CA 90024-3214              Attn: Michael Baum                           Manhasset, NY 11030-3907
                                        1840 Century Park East, 17th FL
                                        Los Angeles, CA 90067-2118

The Estate of Yahouda Yahoudai          The Nimkoff Firm                             Thomas J. Weiss
1875 Century Park East Suite 920        28 Robert Circle                             Law Offices of Thomas J. Weiss
Los Angeles, CA 90067-2510              Syosset, NY 11791-3828                       1925 Century Park East Ste. 2140
                                                                                     Los Angeles, CA 90067-2722


Time Warner Cable                       U.S. Bank National Association, as Trustee   (p)US BANK
PO Box 60074                            c/o Keith C. Owens                           PO BOX 5229
City of Industry, CA 91716-0074         Venable LLP                                  CINCINNATI OH 45201-5229
                                        2049 Century Park East, Suite 2300
                                        Los Angeles, CA 90067-3125
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US Bank                                            US Trustee
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                                                                                 47     Union Bank/First Bankcard (FNB Omaha U.B.)
c/o Keith Owens                                     915 Wilshire Blvd., Suite 1850                       PO Box 2557
Venable LLP                                         Los Angeles, CA 90017-3560                           Omaha, NE 68103-2557
2049 Century Park East Ste. 2300
Los Angeles, CA 90067-3125

United Mileage Plus (Chase Card Serv               Van Nuys Plywood, LLC                                Vivoli Saccuzzo, LLP
PO Box 94014                                       Danny Pakravan                                       c/o Michael W. Vivoli, Esq.
Palatine, IL 60094-4014                            3131 Antelo Road                                     2550 Fifth Avenue, Suite 709
                                                   Los Angeles, CA 90077-1603                           San Diego, CA 92103
                                                                                                        San Diego, CA 92103-6624

Vivopools                                          World Real Estate Group                              Wraytec Security Services
825 S. Primrose Ave. Suite H                       Farid Faryab                                         4730 Walnut St.
Monrovia, CA 91016-3413                            PO Box 15925                                         Simi Valley, CA 93063-1440
                                                   Beverly Hills, CA 90209-1925


Yahouda Yahoudai                                   Yona Samih                                           Ziba Sarafian
10390 Wilshire Blvd. #1203                         11766 Wilshire Blvd, Ste. 260                        18345 Ventura Blvd., Ste. 500
Los Angeles, CA 90024-6451                         Los Angeles, CA 90025-6573                           Tarzana, CA 91356-4245



(p)DAVID KEITH GOTTLIEB TR                         Fereydoun Dayani                                     H. Joseph Nourmand
16255 VENTURA BOULEVARD SUITE 440                  18345 Ventura Blvd Suite 500                         c/o Snipper Wainer & Markoff
ENCINO CA 91436-2308                               Tarzana, CA 91356-4245                               9595 Wilshire Boulevard
                                                                                                        Suite 201
                                                                                                        Beverly Hills, CA 90212-2502

Howard L. Abselet                                  Israel Abselet                                       Jack NOURAFSHAN
c/o Henry S. David                                                                                      c/o Daniel J. McCarthy
617 W. 7th St., Suite 702                                                                               Hill, Farrer & Burrill LLP
Los Angeles, CA 90017-3853                                                                              300 South Grand Ave., 37th Floor
                                                                                                        Los Angeles, CA 90071-3147

Mark E Goodfriend                                  Massoud Aaron Yashouafar                             Parvin NOURAFSHAN
Law Offices of Mark E Goodfriend                   c/o Merritt, Hagen & Sharf, LLP                      c/o Daniel J. McCarthy
16055 Ventrua Blvd                                 5950 Canoga Ave                                      Hill, Farrer & Burrill LLP
Encino, CA 91436-2601                              Suite 400                                            300 South Grand Ave., 37th Floor
                                                   Woodland Hills, CA 91367-5037                        Los Angeles, CA 90071-3147

Raymund Carino                                     Simon Barlava                                        Solyman Yashouafar
c/o Wolf, Rifkin, Shapiro, Schulman & Ra           2209 South Santa Avenue                              4633 White Oak Place
11400 West Olympic Blvd., 9th Floor                Los Angeles, CA 90058-1109                           Encino, CA 91316-4336
Los Angeles, CA 90064-1582


Thomas P Jeremiassen (TR)                           William Harold Brownstein
Development Specialists, Inc.                       11755 Wilshire Boulevard
333 South Grand Ave., Suite 4100                    Suite 1250
Los Angeles, CA 90071-1571                          Los Angeles, CA 90025-1540




                  The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                  by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).
               Case 1:16-bk-12255-GM                 Doc 839
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Bank of America                                       Chase Card
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                                                                                        47     (d)Chase Card Services (Southwest)
PO Box 15019                                          PO Box 94014                                         PO Box 94014
Wilmington, DE 19886-5019                             Palatine, IL 60094-4014                              Palatine, IL 60094-4014



US Bank                                               David Keith Gottlieb (TR)
PO Box 790408                                         16255 Ventura Boulevard, Suite 440
Saint Louis, MO 63179-0408                            Encino, CA CA 91436




                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Alliance Property Investments Inc                   (u)BMW Financial Services NA, LLC a servicing        (u)Baker & Hostetler LLP




(u)Berkeley Research Group LLC                         (u)Carla Ridge, LLC                                  (u)Courtesy NEF




(du)Courtesy NEF                                       (u)Desert Field, LLC                                 (u)Development Specialists Inc




(u)Foley & Lardner LLP                                 (u)Official Committee of Unsecured Creditors         (u)PY Note Investors, LLC




(u)Simon Barlava and Related Individuals and           (u)Van Nuys Plywood, LLC                             (u)Danny Pakravan




(u)Doris Moradzadeh                                    (u)Hamid Joseph Nourmand                             (u)Iraj Zokai




(u)Nourollah Siman                                     (u)Robert M. Heller, Esq.                            (u)Rosa Zokai
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                                                                   1    John W. Lucas (CA Bar No. 271038)
                                                                        PACHULSKI STANG ZIEHL & JONES LLP
                                                                   2    10100 Santa Monica Blvd., 13th Floor
                                                                        Los Angeles, CA 90067
                                                                   3    Tel: 310/277-6910
                                                                        Facsimile: 310/201-0760
                                                                   4    E-mail: jlucas@pszjlaw.com

                                                                   5    [Proposed] Attorneys for David K. Gottlieb, Chapter 7 Trustee
                                                                        of the Estates of Solyman Yashouafar and Massoud Aaron
                                                                   6    Yashouafar

                                                                   7

                                                                   8                                  UNITED STATES BANKRUPTCY COURT

                                                                   9                                   CENTRAL DISTRICT OF CALIFORNIA

                                                                  10                                     SAN FERNANDO VALLEY DIVISION

                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12    In re:                                                     Case No.: 1:16-bk-12255-GM
                                                                                                                                   Chapter 7
                                        LOS ANGELES, CALIFORNIA




                                                                  13    SOLYMAN YASHOUAFAR and MASSOUD
                                           ATTORNEYS AT LAW




                                                                        AARON YASHOUAFAR,1                                         Jointly Administered
                                                                  14
                                                                                                           Debtors.                Case No.: 1:16-bk-12255-GM
                                                                  15                                                               Chapter 7
                                                                        In re:
                                                                  16                                                               Case No.: 1:16-bk-12408-GM
                                                                        SOLYMAN YASHOUAFAR,                                        Chapter 7
                                                                  17
                                                                                                           Debtor.                 CHAPTER 7 TRUSTEE’S NOTICE OF
                                                                  18                                                               APPLICATION FOR AN ORDER
                                                                        In re:                                                     AUTHORIZING AND APPROVING THE
                                                                  19                                                               EMPLOYMENT OF PACHULSKI STANG
                                                                        MASSOUD AARON YASHOUAFAR,                                  ZIEHL & JONES LLP, AS GENERAL
                                                                  20                                                               BANKRUPTCY COUNSEL EFFECTIVE
                                                                                                           Debtor.                 JUNE 7, 2021
                                                                  21
                                                                        Affects:                                                   [No Hearing Required]
                                                                  22
                                                                         Both Debtors
                                                                  23     Solyman Yashouafar
                                                                         Massoud Aaron Yashouafar
                                                                  24
                                                                                                           Debtors.
                                                                  25

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                                                                         The Debtors, together with the last four digits of each Debtor’s social security number are: Solyman Yashouafar
                                                                       (5875) and Massoud Aron Yashouafar (6590).

                                                                       DOCS_LA:338454.1 32274/002
                                                                   Case 1:16-bk-12255-GM            Doc 839
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                                                                   1   TO THE DEBTORS AND THEIR COUNSEL OF RECORD, THE OFFICE OF THE
                                                                       UNITED STATES TRUSTEE, AND PARTIES REQUESTING SPECIAL NOTICE:
                                                                   2
                                                                               PLEASE TAKE NOTICE that David K. Gottlieb, the Chapter 7 Trustee (the “Trustee”) in
                                                                   3
                                                                       the jointly administered bankruptcy cases (the “Cases”) of Solyman Yashouafar and Massoud Aaron
                                                                   4
                                                                       Yashouafar (the “Debtors”), has filed with the Court an application (the “Application”) to employ
                                                                   5
                                                                       Pachulski Stang Ziehl & Jones LLP (the “Firm”) as general bankruptcy counsel, effective as of June
                                                                   6
                                                                       7, 2021, to represent him in his duties with respect to the review and reconciliation of claims against
                                                                   7
                                                                       the Debtors’ estates, any distributions to creditors, and the filing of a final chapter 7 report.
                                                                   8
                                                                               PLEASE TAKE FURTHER NOTICE that, subject to the provisions of the Bankruptcy
                                                                   9
                                                                       Code, the Bankruptcy Rules and the Local Bankruptcy Rules and this Court’s rules, the Trustee
                                                                  10
                                                                       proposes to pay the Firm its customary hourly rates in effect from time to time and to reimburse the
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       Firm according to its customary reimbursement policies. The hourly rates of John Lucas and Gail
                                                                  12
                                                                       Greenwood, the attorneys currently expected to be principally responsible for the Cases, are $995
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                       and $950, respectively, effective as of January 1, 2021. The hourly rate for Beth Dassa, the paralegal
                                                                  14
                                                                       assigned to the Cases, is $460. The hourly rates of all of the Firm’s attorneys and paraprofessionals
                                                                  15
                                                                       are attached as Exhibit “B” to the Declaration of John Lucas filed in support of the Application.
                                                                  16
                                                                               PLEASE TAKE FURTHER NOTICE that while the Firm did not receive any retainer in
                                                                  17
                                                                       connection with its proposed employment, it is contemplated that the Firm may seek interim
                                                                  18
                                                                       compensation during the Cases as permitted by sections 330 and 331 of the Bankruptcy Code and
                                                                  19
                                                                       Bankruptcy Rule 2016. The Firm understands that its compensation in the Cases is subject to the
                                                                  20
                                                                       prior approval of this Court. No compensation will be paid except upon application to and approval
                                                                  21
                                                                       by this Court after notice and a hearing in accordance with sections 330 and 331 of the Bankruptcy
                                                                  22
                                                                       Code, Bankruptcy Rule 2016 and Local Bankruptcy Rule 2016-1.
                                                                  23
                                                                               PLEASE TAKE FURTHER NOTICE that a hearing is not required in connection with the
                                                                  24
                                                                       Application unless requested by the United States Trustee, a party in interest, or otherwise ordered
                                                                  25
                                                                       by the Court. Pursuant to Local Rule 2014-1(b)(3)(E), any objection to the proposed Application
                                                                  26
                                                                       and request for hearing must be in the form prescribed by Local Rule 9013-1(f)(1) and must be filed
                                                                  27
                                                                       and served on the Trustee, its proposed counsel, and the Office of the United States Trustee no later
                                                                  28

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                                                                   1   than fourteen (14) days from the date of service of this notice. A true and correct copy of the

                                                                   2   Application may be obtained by contacting Beth Dassa, Paralegal, Pachulski Stang Ziehl & Jones

                                                                   3   LLP, 10100 Santa Monica Blvd., 13th Floor, Los Angeles, CA 90067; Telephone: (310) 277-6910;

                                                                   4   Facsimile: (310) 201-0760; email: bdassa@pszjlaw.com.

                                                                   5
                                                                       Dated: June 16, 2021                        PACHULSKI STANG ZIEHL & JONES LLP
                                                                   6

                                                                   7                                               By: /s/ John W. Lucas
                                                                                                                           John W. Lucas
                                                                   8
                                                                                                                   [Proposed] Attorneys for David K. Gottlieb, Chapter 7
                                                                   9                                               Trustee of the Estates of Solyman Yashouafar and
                                                                                                                   Massoud Aaron Yashouafar
                                                                  10

                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




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                                                                   1                                         PROOF OF SERVICE OF DOCUMENT
                                                                   2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
                                                                       address is:
                                                                   3

                                                                   4                     10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067
                                                                   5   A true and correct copy of the foregoing document entitled CHAPTER 7 TRUSTEE’S NOTICE
                                                                       OF APPLICATION FOR AN ORDER AUTHORIZING AND APPROVING THE
                                                                   6   EMPLOYMENT OF PACHULSKI STANG ZIEHL & JONES LLP, AS HIS GENERAL
                                                                       BANKRUPTCY COUNSEL EFFECTIVE JUNE 7, 2021 will be served or was served (a) on the
                                                                   7   judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
                                                                       below:
                                                                   8
                                                                       1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
                                                                   9   Pursuant to controlling General Orders and LBR, the foregoing document will be served by the court
                                                                       via NEF and hyperlink to the document. On June 16, 2021, I checked the CM/ECF docket for this
                                                                  10   bankruptcy case or adversary proceeding and determined that the following persons are on the
                                                                       Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                                                                                                Service information continued on attached page
                                                                  12
                                                                       2. SERVED BY UNITED STATES MAIL:
                                        LOS ANGELES, CALIFORNIA




                                                                  13   On June 16, 2021, I served the following persons and/or entities at the last known addresses in this
                                           ATTORNEYS AT LAW




                                                                       bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
                                                                  14   envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the
                                                                       judge here constitutes a declaration that mailing to the judge will be completed no later than 24
                                                                  15   hours after the document is filed.
                                                                  16                                                                            Service information continued on attached page
                                                                  17   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
                                                                       TRANSMISSION OR EMAIL (state method for each person or entity served): Pursuant to
                                                                  18   F.R.Civ.P. 5 and/or controlling LBR, on June ___, 2021, I served the following persons and/or
                                                                       entities by personal delivery, overnight mail service, or (for those who consented in writing to such
                                                                  19   service method), by facsimile transmission and/or email as follows. Listing the judge here
                                                                       constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed
                                                                  20   no later than 24 hours after the document is filed.
                                                                  21

                                                                  22

                                                                  23
                                                                                                                                                   Service information continued on attached page
                                                                  24
                                                                       I declare under penalty of perjury under the laws of the United States that the foregoing is true and
                                                                  25   correct.
                                                                       June 16, 2021                    Nancy H. Brown                        /s/ Nancy H. Brown
                                                                  26          Date                          Printed Name                              Signature
                                                                  27

                                                                  28
                                                                                   This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

                                                                       June 2012                                                                                       F 9013-3.1.PROOF.SERVICE
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                                                                   1       1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING
                                                                              (NEF):
                                                                   2
                                                                                  Timothy C Aires tca@arlawyers.com, gperez@arlawyers.com
                                                                   3              Bret D. Allen ca.ecf@bretallen.com, bankruptcy@theallenlawfirm.com
                                                                                  Simon Aron saron@wrslawyers.com, eweiman@wrslawyers.com
                                                                   4              Lauren T Attard lattard@bakerlaw.com, agrosso@bakerlaw.com
                                                                                  Larry G Ball lball@hallestill.com, kbauer@hallestill.com
                                                                   5              William H Brownstein Brownsteinlaw.bill@gmail.com
                                                                                  Carol Chow carol.chow@ffslaw.com, easter.santamaria@ffslaw.com
                                                                   6              Aaron E DE Leest adeleest@DanningGill.com, danninggill@gmail.com;adeleest@ecf.inforuptcy.com
                                                                                  Henry S David hdavid@davidfirm.com, 8163836420@filings.docketbird.com
                                                                   7              Brian L Davidoff bdavidoff@greenbergglusker.com, calendar@greenbergglusker.com;jking@greenbergglusker.com
                                                                                  Michael T Delaney mdelaney@bakerlaw.com, TBreeden@bakerlaw.com
                                                                   8              Fahim Farivar fahim@farivarlaw.com, catherine@farivarlaw.com;lisa@farivarlaw.com
                                                                                  Todd S Garan ch11ecf@aldridgepite.com, TSG@ecf.inforuptcy.com;tgaran@aldridgepite.com
                                                                   9              Marian Garza ecfnotices@ascensioncapitalgroup.com
                                                                                  Thomas M Geher tmg@jmbm.com, bt@jmbm.com;fc3@jmbm.com;tmg@ecf.inforuptcy.com
                                                                  10              Mark E Goodfriend markgoodfriend@yahoo.com, monica.yoohanna@gmail.com
                                                                                  David Keith Gottlieb (TR) dkgtrustee@dkgallc.com,
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                                                                           
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                                                                                   This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

                                                                       June 2012                                                                                       F 9013-3.1.PROOF.SERVICE
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                                                                   1   2. SERVED BY UNITED STATES MAIL:
                                                                   2   See attached Label Matrix
                                                                   3
                                                                                      Solyman Yashouafar                                             Massoud Aaron Yashouafar
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                                                                   6    successor-in-interest to Bank of America, National Association, as             successor-in-interest to Bank of America, National Association,
                                                                        successor by merger to LaSalle Bank National Association, as                   as successor by merger to LaSalle Bank National Association, as
                                                                   7    Trustee for the Registered Holders of CD 2006-CD3 Commercial                   Trustee for the Registered Holders of CD 2006-CD3
                                                                        Mortgage Pass-Through Certificates                                             Commercial Mortgage Pass-Through Certificates
                                                                   8    Keith C. Owens                                                                 Gregory A. Cross
                                                                        Jennifer L. Nassiri                                                            VENABLE LLP
                                                                   9    VENABLE LLP                                                                    750 East Pratt Street, Suite 900
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                                                                        Ascension Capital Group
                                                                  18    Account: XXXXX4721
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                                                                  19    Irving, TX 75016

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                                                                            63     Encino - 16661 Ventura Blvd Trust, a Delawar
0973-1                                  c/o Daniel J. McCarthy                         c/o Keith C. Owens
Case 1:16-bk-12255-GM                   Hill, Farrer & Burrill LLP                     Venable LLP
Central District of California          300 South Grand Ave.                           2049 Century Park East #2300
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               Case 1:16-bk-12255-GM   Doc 839
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                                                                      63     Encino Corporate Plaza, L.P.
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Marc Smith                              Massoud
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US Bank                                             US Trustee
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                                                                                  12     Union Bank/First Bankcard (FNB Omaha U.B.)
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                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).
               Case 1:16-bk-12255-GM                 Doc 839
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Bank of America                                       Chase Card
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                                                                                        12     (d)Chase Card Services (Southwest)
PO Box 15019                                           PO Box 94014                                         PO Box 94014
Wilmington, DE 19886-5019                              Palatine, IL 60094-4014                              Palatine, IL 60094-4014



US Bank                                                David Keith Gottlieb (TR)
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Saint Louis, MO 63179-0408                             Encino, CA CA 91436




                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Alliance Property Investments Inc                   (u)BMW Financial Services NA, LLC a servicing        (u)Baker & Hostetler LLP




(u)Berkeley Research Group LLC                         (u)Carla Ridge, LLC                                  (u)Courtesy NEF




(du)Courtesy NEF                                       (u)Desert Field, LLC                                 (u)Development Specialists Inc




(u)Foley & Lardner LLP                                 (u)Official Committee of Unsecured Creditors         (u)PY Note Investors, LLC




(u)Simon Barlava and Related Individuals and           (u)Van Nuys Plywood, LLC                             (u)Danny Pakravan




(u)Doris Moradzadeh                                    (u)Hamid Joseph Nourmand                             (u)Iraj Zokai




(u)Nourollah Siman                                     (u)Robert M. Heller, Esq.                            (u)Rosa Zokai
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(d)Sina Abselet                         (d)YonaDocument
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                                                                      12     (u)the Registered Holders of CD 2006-CD3 U.S.
19 Doral Drive                          11766 Wilshire Blvd Suite 260
Manhasset, NY 11030-3907                Los Angeles, CA 90025-6573



End of Label Matrix
Mailable recipients   115
Bypassed recipients    24
Total                 139
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                                                                      47     (u)the Registered Holders of CD 2006-CD3 U.S.
19 Doral Drive                          11766 Wilshire Blvd Suite 260
Manhasset, NY 11030-3907                Los Angeles, CA 90025-6573



End of Label Matrix
Mailable recipients   115
Bypassed recipients    24
Total                 139
      Case 1:16-bk-12255-GM                    Doc 839 Filed 07/12/21 Entered 07/12/21 16:39:47                                      Desc
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  I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                                                             th
                         10100 Santa Monica Boulevard, 13 Floor, Los Angeles, CA 90067

  A true and correct copy of the foregoing document entitled: DECLARATION THAT NO PARTY REQUESTED
  A HEARING ON MOTION [LBR 9013-1(o)(3)] will be served or was served (a) on the judge in chambers in
  the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

  1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
  Pursuant to controlling General Orders and LBR, the foregoing document will be served by the court via NEF
  and hyperlink to the document. On (date) July 12, 2021, I checked the CM/ECF docket for this bankruptcy
  case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
  List to receive NEF transmission at the email addresses stated below:


                                                                         Service information continued on attached page

  2. SERVED BY UNITED STATES MAIL:
  On (date) __________, I served the following persons and/or entities at the last known addresses in this
  bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in
  the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
  constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document
  is filed.


                                                                         Service information continued on attached page


  3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
  (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
  July 12, 2021, I served the following persons and/or entities by personal delivery, overnight mail service, or
  (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
  Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will
  be completed no later than 24 hours after the document is filed.

  VIA OVERNIGHT MAIL
  Hon. Geraldine Mund
  United States Bankruptcy Court
  Central District of California
  21041 Burbank Boulevard, Suite 312 / Courtroom 303
  Woodland Hills, CA 91367
                                                                         Service information continued on attached page

  I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

   July 12, 2021                        Nancy H. Brown                                          /s/ Nancy H. Brown
   Date                                  Printed Name                                           Signature




________________________________________________________________________________________
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    Case 1:16-bk-12255-GM                    Doc 839 Filed 07/12/21 Entered 07/12/21 16:39:47                                     Desc
                                             Main Document    Page 63 of 63
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

    Mailing Information for Case 1:17-ap-01040-MT

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